Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 1 of 162 PageID #: 10066

                                                                     Vol. 5-816

                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION




       VON DUPRIN, LLC,                          )
                                                 )   Cause No.
                 Plaintiff,                      )   1:16-cv-1942-TWP-DML
                                                 )   Indianapolis, Indiana
           vs.                                   )   July 31, 2019
                                                 )   8:33 a.m.
       MORAN ELECTRIC SERVICE, INC.,             )
       MAJOR HOLDINGS, LLC,                      )
       MAJOR TOOL AND MACHINE, INC.,             )
       and ZIMMER PAPER PRODUCTS                 )
       INCORPORATED,                             )
                                                 )        VOLUME V
                 Defendants.                     )




                                Before the Honorable
                                 TANYA WALTON PRATT

                        OFFICIAL REPORTER'S TRANSCRIPT OF
                                   BENCH TRIAL




       Court Reporter:                     David W. Moxley, RMR, CRR, CMRS
                                           United States District Court
                                           46 East Ohio Street, Room 340
                                           Indianapolis, Indiana      46204
                     PROCEEDINGS TAKEN BY MACHINE SHORTHAND
              TRANSCRIPT CREATED BY COMPUTER-AIDED TRANSCRIPTION
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 2 of 162 PageID #: 10067

                                                                     Vol. 5-817

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Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 3 of 162 PageID #: 10068

                                                                      Vol. 5-818

                                      I N D E X
       PLAINTIFF'S WITNESS:                                    PAGE

       ADAM HAMILTON LOVE
       Direct Examination by Mr. Griggs ..............820
       Cross-examination by Mr. Bowman ...............869
       Cross-examination by Ms. Krahulik .............876
       Redirect examination by Mr. Griggs ............881

       DEFENDANT'S WITNESSES:                                  PAGE

       ADAM HAMILTON LOVE
       Direct Examination by Mr. Bowman ..............900
       Cross-examination by Mr. Griggs ...............917
       Cross-examination by Ms. Krahulik .............922
       Redirect Examination by Mr. Bowman ............923
       NIVAS VIJAY ARAGHAVAN
       Direct Examination by Ms. Krahulik ............931
       Cross-examination by Mr. Griggs ...............960
       Cross-examination by Mr. Bowman ...............968
       Redirect Examination by Ms. Krahulik ..........973


                        I N D E X     O F     E X H I B I T S
       PLAINTIFF'S EXHIBITS:                                   PAGE

       101 ...........................................868
       106 ...........................................885
       1209 ..........................................885
       DEFENDANT'S EXHIBITS:                                   PAGE

       603   ...........................................913
       614   ...........................................913
       615   ...........................................913
       619   ...........................................913
       620   ...........................................913
       621   ...........................................913
       622   ...........................................913
       623   ...........................................927
       624   ...........................................927
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 4 of 162 PageID #: 10069

                                                                     Vol. 5-819

    1                             (In open court.)
    2              THE COURT:    Good morning, everyone.       We are on the
    3 record.     This is Von Duprin, LLC, plaintiff, versus Moran
    4 Electric Service, Inc., and Major Holdings, LLC, and Major
    5 Tool and Machine, Inc., defendants, who are also
    6 counterdefendants and cross defendants and counterclaimants.
    7 And we are here this morning for the continuation of our bench
    8 trial.
    9              And we'll begin by having -- since we have a new
   10 court reporter, David Moxley, we'll begin by having counsel
   11 state your names, lead counsel, and introduce those at your
   12 table.
   13              And, Mr. Griggs, I think you have the microphone, so
   14 you may.
   15              MR. GRIGGS:    Sean Griggs, Barnes & Thornburg, for
   16 Von Duprin; Alex French, also Barnes & Thornburg; Gladys
   17 Thomas.
   18              THE COURT:    The corporate representative?
   19              MR. GRIGGS:    That's correct.
   20              THE COURT:    Okay.   And at our defendants' table?
   21              MR. BOWMAN:    Good morning, Your Honor.
   22              THE COURT:    Good morning.
   23              MR. BOWMAN:    Glenn Bowman, Stoll, Keenon and Ogden,
   24 on behalf of Moran Electric Service; Marc Menkveld of Stoll,
   25 Keenon and Ogden, also; Bruce Kamplain, Norris, Choplin &
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 5 of 162 PageID #: 10070

                                LOVE - DIRECT/GRIGGS                 Vol. 5-820

    1 Schroeder, for Moran Electric.         Thank you.
    2              THE COURT:    Thank you.
    3              And on behalf of the Major defendants?
    4              MS. KRAHULIK:     Good morning, Your Honor.       Angela
    5 Krahulik, Ice Miller, LLP, on behalf of the Major defendants,
    6 along with Sam Gardner, also of Ice Miller.           And we are
    7 accompanied by Natalie Weir, who is the CFO of Major Tool and
    8 Machine.
    9              THE COURT:    Okay.   Good morning.
   10              All right.    So, Mr. Griggs, I see this is your first
   11 witness of the day?
   12              MR. GRIGGS:    Yes, Your Honor.
   13              THE COURT:    All right.    Sir, would you please stand
   14 and raise your right hand to be sworn.
   15              (The witness is sworn.)
   16              THE COURT:    You may have a seat.
   17              And, Mr. Griggs, you may examine your witness.
   18            ADAM HAMILTON LOVE, PLAINTIFF'S WITNESS, SWORN

   19                            DIRECT EXAMINATION

   20 BY MR. GRIGGS:
   21 Q.    Good morning.
   22 A.    Good morning.
   23 Q.    Please state your name for the record.
   24 A.    Adam Hamilton Love.
   25 Q.    And who is your current employer?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 6 of 162 PageID #: 10071

                               LOVE - DIRECT/GRIGGS                  Vol. 5-821

    1 A.    Roux Associates, Inc.
    2 Q.    Which office or city of Roux Associates?
    3 A.    The office that's at Oakland, California.
    4 Q.    And what is your current position or title?
    5 A.    Principal scientist and vice president.
    6 Q.    Could you briefly describe your educational background?
    7 A.    Sure.   I have an undergraduate in geoscience from Franklin
    8 & Marshall College.       I have a master's degree from the
    9 University of California at Berkeley in material science and
   10 mineral engineering.       I have a Ph.D. from the University of
   11 California at Berkeley in environmental engineering.
   12 Q.    And, as you are a Ph.D. holder, if we refer to you as
   13 "Dr. Love" today, is that okay?
   14 A.    That's fine.
   15 Q.    What percent of your work involves acting or serving as an
   16 expert witness?
   17 A.    Approximately 70 percent.
   18 Q.    And what do you do the other 30 percent of your work time?
   19 A.    I have other clients that do traditional environmental
   20 site assessment, site remediation, as well as work that I do
   21 for the federal government doing forensics for them.
   22 Q.    What are your areas of expertise?
   23 A.    I do a lot of different things for different types of
   24 clients, but it's generally focused around areas of site
   25 assessment and remediation, environmental forensics, which
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 7 of 162 PageID #: 10072

                               LOVE - DIRECT/GRIGGS                  Vol. 5-822

    1 typically is understanding the source, the timing, and the
    2 allocation of contribution of contaminants.           I do modeling
    3 groundwater and air modeling.         I've done assessment of
    4 occupational exposure and resident exposure, chemical
    5 fingerprinting.
    6 Q.    I believe in our discussion at your deposition, perhaps
    7 also in your expert report, there were some additional areas,
    8 there was quite a long list of expertise.           What about the area
    9 of engineering?
   10 A.    I'm not a professional engineer, but I'm involved in
   11 engineering projects.
   12 Q.    You consider yourself an expert in that area?
   13 A.    It depends on the type of engineering you're talking
   14 about.     Engineering is a pretty broad topic.
   15 Q.    What about the area of geology?
   16 A.    Yes.
   17 Q.    Hydrogeology?
   18 A.    Yes.
   19 Q.    Chemistry?
   20 A.    Yes.
   21 Q.    And I believe you mentioned several things that might
   22 cover this, but what about fate and transport?
   23 A.    Yes.
   24 Q.    Who is your client in this case?
   25 A.    Moran Electric.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 8 of 162 PageID #: 10073

                               LOVE - DIRECT/GRIGGS                  Vol. 5-823

    1 Q.    When were you retained to work on this case?
    2 A.    I believe in 2016.
    3 Q.    Do you remember what part of the year?
    4 A.    Not off the top of my head, no.
    5 Q.    Could it have been March or April of 2017?
    6 A.    It could have been.      It may have been when the retention
    7 was.
    8 Q.    What's the difference between your memory of 2016 and
    9 being retained in the spring of 2017?
   10 A.    It may have been that there were earlier conversations,
   11 but the retention may not have happened until 2017.
   12 Q.    Okay.    Did you prepare an expert report in this case?
   13 A.    I did.
   14 Q.    And did you give a deposition in this case?
   15 A.    I did.
   16 Q.    After the deposition, did you submit an errata letter with
   17 changes to your deposition testimony?
   18 A.    I did.
   19 Q.    Did you also prepare a post-deposition affidavit in this
   20 case, or declaration?
   21 A.    I did.
   22 Q.    Do you know how much you've been paid so far to work on
   23 this case?
   24 A.    I haven't totaled the invoices as of recently.
   25 Approximately $90,000.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 9 of 162 PageID #: 10074

                               LOVE - DIRECT/GRIGGS                  Vol. 5-824

    1 Q.    Have you done any work since the time of your deposition
    2 on this case?
    3 A.    Yes.
    4 Q.    What things have you done?
    5 A.    I've gone back and rereviewed some of the data tables.
    6 I've gone back and rereviewed a number of the technical
    7 reports on the site and just sort of went back and checked and
    8 reaffirmed that everything was as I expected.
    9 Q.    Did you review the transcript of the deposition that you
   10 had given?
   11 A.    I did.
   12 Q.    And you prepared the errata sheet?
   13 A.    I did.
   14 Q.    And did you do additional calculations, the results of
   15 which were reported in that errata sheet?
   16 A.    I did do some simple calculations, yes.
   17 Q.    And you did prepare an affidavit or declaration?
   18 A.    I did.
   19 Q.    Did you prepare to testify at trial today?
   20 A.    I did.
   21 Q.    So if you testified at your deposition, which was in June
   22 of 2018, over a year ago, that at that time you had spent 80
   23 to $90,000, is it accurate to say that, as of today, you
   24 believe you've still spent $90,000?
   25 A.    It may have been maybe 10,000 more than that, maybe up to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 10 of 162 PageID #:
                                  10075
                            LOVE - DIRECT/GRIGGS                  Vol. 5-825

  1 $100,000, but not much more than that.
  2 Q.   I think there are some points of agreement between Von
  3 Duprin and you.      I would like to see if we can establish where
  4 we agree.
  5              What are the contaminants of concern in the plume
  6 area, the area that's affected by this case?
  7 A.   Chlorinated solvents and their degradation products.
  8 Q.   And can you be specific about which chlorinated solvents
  9 those are?
10 A.    Sure.    PCE, TCE, DCE, and vinyl chloride.
11 Q.    Are those chlorinated compounds naturally occurring or are
12 they man-made?
13 A.    Those are man-made.
14 Q.    In your expert report, did you divide the plume area into
15 two parts, upgradient and downgradient?
16 A.    I did.
17 Q.    And did you calculate a percentage of the total
18 chlorinated solvent mass that was solely related to the
19 upgradient portion of that plume area?
20 A.    I did.
21 Q.    And do you recall what amount of that upgradient CVOC mass
22 you attributed to Von Duprin?
23 A.    Of the upgradient mass, 0 percent.
24 Q.    You see, we agree about a lot of things.
25               Did you also reach an opinion that the upgradient
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 11 of 162 PageID #:
                                  10076
                            LOVE - DIRECT/GRIGGS                  Vol. 5-826

  1 sources contributed some chlorinated solvent mass to the
  2 downgradient area?
  3 A.   I did.
  4 Q.   And did you include in your report some information
  5 regarding the operations of various sites, both upgradient and
  6 downgradient, that spanned many decades going back to the
  7 1890s?
  8 A.   I did.
  9 Q.   Did you also, in your report, indicate that the
10 contaminants released at the former Ertel, former Zimmer
11 Paper, and former Moran sites have traveled in the groundwater
12 to the former Von Duprin site and beyond?
13 A.    Yes.
14 Q.    I want to talk for just a minute about the mechanics of a
15 contaminant release.
16               If we start with a spill or a release to soil, what
17 happens to that contamination over time?
18 A.    So over time, gravity will initially pull the liquid
19 through the unsaturated soil down to the groundwater table.
20 If there's enough momentum or driving force to get it, it will
21 go into the groundwater table.         And then if it goes in as a
22 separate liquid, it will -- in the case of these solvents, it
23 will sink to the bottom of the aquifer and then slowly
24 dissolve into the water over time.
25 Q.    As it -- as the contaminant is migrating downward through
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 12 of 162 PageID #:
                                  10077
                            LOVE - DIRECT/GRIGGS                  Vol. 5-827

  1 the soil, will some of it absorb to the soil matrix?
  2 A.   Yes.
  3 Q.   And if, as you say, there's enough driving force and some
  4 reaches groundwater, will the contaminant that reaches
  5 groundwater begin to move in the direction the groundwater
  6 moves?
  7 A.   Yes.
  8 Q.   And in the case of chlorinated solvents, is it possible
  9 that some of the molecules will dechlorinate if the conditions
10 allow?
11 A.    Yes.
12 Q.    Did you express any opinion in this case regarding what
13 would be an appropriate final remedy for the groundwater?
14 A.    No.
15 Q.    Did you express any opinion regarding what the cost would
16 be for a groundwater remedy?
17 A.    No.
18 Q.    And did you express any opinion regarding the potential
19 risk of vapor intrusion associated with a commingled plume?
20 A.    No.
21 Q.    Do you recall that during your deposition, you were asked
22 whether or not you had used all of the data in performing your
23 analysis?
24 A.    I remember that, yes.
25 Q.    And do you remember what you answered, initially?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 13 of 162 PageID #:
                                  10078
                            LOVE - DIRECT/GRIGGS                  Vol. 5-828

  1 A.   I answered yes.
  2 Q.   And you were asked that question a second time, and what
  3 did you answer the second time?
  4 A.   I believe I answered yes.
  5 Q.   And there was a third time -- we had a long deposition, as
  6 I recall -- and you also answered yes?
  7 A.   Right.
  8 Q.   But at a later point, still during the deposition, you had
  9 to change that testimony; is that correct?
10 A.    No, I didn't change it.
11               MR. BOWMAN:    Objection, argumentative.       If you want
12 to impeach him, pull out the deposition.           Ask him a question.
13 It's argumentative.
14               THE COURT:    I'll overrule.     And the witness said no.
15 He can explain.
16               You may explain, witness.
17 A.    No.   I don't believe it was that I didn't use all the
18 data.     I believe the conversation was about how I used a
19 subset of the data for a particular analysis.            But in my
20 overall evaluation, I looked at all of the data, but I didn't
21 use every single data point for every calculation that I
22 performed.      That wouldn't have made sense.
23               THE COURT:    Okay.   Thank you.
24 BY MR. GRIGGS:
25 Q.    So there were some specific samples, I believe, that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 14 of 162 PageID #:
                                  10079
                            LOVE - DIRECT/GRIGGS                  Vol. 5-829

  1 involved soil samples, which had been taken at a depth greater
  2 than ten feet.      Do you recall that?
  3 A.   No.   It was depths less than ten feet.
  4 Q.   Okay.    I'm talking about the samples that were not part of
  5 the analysis.     Let me ask the question a different way.
  6              During the deposition, we were trying to understand
  7 what data had gone into your calculations.           And as it --
  8 ultimately, at page 179 and page 180 of the deposition
  9 transcript, we finally learned what there were, what were in
10 your soil database, samples from depths greater than
11 10 percent -- sorry -- ten feet that you indicated had -- you
12 had excluded from the soil analysis because of their depth.
13 Do you recall that?
14 A.    That's right.     Those were samples at groundwater depths
15 and so I only used soils that were unsaturated for my soil
16 analysis.
17 Q.    And what was the demarcation in your mind between
18 saturated and unsaturated soil samples?
19 A.    The 10-foot depth.
20 Q.    And do you recall that in your deposition, you also
21 testified about how data points from a single boring were used
22 in your calculations?
23 A.    I do.
24 Q.    And during the deposition, we all thought, I think, that
25 you had used an average for each boring; is that correct?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 15 of 162 PageID #:
                                  10080
                            LOVE - DIRECT/GRIGGS                  Vol. 5-830

  1 A.   That's right.
  2 Q.   And that was the reason for your errata letter?
  3 A.   That was.
  4 Q.   And what was the change that the errata letter indicated
  5 was needed?
  6 A.   After the deposition, when I went back and looked at my
  7 analysis, instead of actually using the average for the soil
  8 concentrations, I had used the max soil concentrations in
  9 order to perform the calculations.         That didn't affect
10 88 percent of the locations.         And even the ones that it did
11 affect, it didn't change the answer.           But I wanted to make
12 sure and be precise that the number that was used in the
13 calculations, in case somebody wanted to repeat them, wasn't
14 the average, but instead it was the max value.
15 Q.    And the question of whether you used an average number for
16 the boring had apparently come up several times in the
17 deposition.      I believe you in your errata letter found four
18 times in the deposition where you had testified that you used
19 the average and wanted to change that to say I actually used
20 the maximum concentration from the boring; is that correct?
21 A.    That's right.     We had done it both ways, leading up to
22 writing the report.       I just got it stuck in my head as to
23 which one we ended up with.
24 Q.    I guess the question that I want to give you the chance to
25 explain is:      Having spent $90,000 at the time of your
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 16 of 162 PageID #:
                                  10081
                            LOVE - DIRECT/GRIGGS                  Vol. 5-831

  1 deposition, how was it that you were not aware of how you had
  2 handled the data that led to your opinions?
  3 A.   Well, like I had said, we had done the calculation both
  4 ways.    It didn't make a substantive difference in the outcome.
  5 For $90,000, we actually performed quite a few different types
  6 of analyses.     And ultimately, it was a simple mistake that was
  7 nonsubstantive.
  8 Q.   And who is the we that you're referring to?
  9 A.   I work with a team of people in my office.          In this case,
10 there was Walt McNab and Rachel Maxwell, who both supported
11 this project.
12 Q.    The demarcation that we talked about of soil below 10 feet
13 being excluded, what was the rationale for excluding that from
14 the soil data set?
15 A.    The rationale to exclude it is, what I wanted to do -- the
16 idea of looking at the soil data was to associate the
17 magnitude of the release impacts to the location that was
18 above it.      And while it's in the soil, it still has the right
19 geographic location to where the release point likely was.               In
20 the groundwater, because there is horizontal movement, as we
21 talked about earlier, when you look at concentrations that are
22 exposed to the groundwater, what you can see could be from
23 another location that has transported to that site.             And so
24 the rationale was, if we wanted to make an association between
25 what the magnitude of the release was, you really could only
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 17 of 162 PageID #:
                                  10082
                            LOVE - DIRECT/GRIGGS                  Vol. 5-832

  1 rely on the soil in order to not confuse what came from
  2 another location.
  3 Q.   Okay.    I guess my question is:      What was the basis for
  4 deciding that 10 feet was the delineation point between the
  5 two?
  6 A.   There's a number of reports from different sites that all
  7 report groundwater elevations that are generally between 10
  8 feet and 15 feet, with most of them really being between sort
  9 of 11 and 13 feet, and so I chose 10-foot as sort of a
10 demarcation that reflected multiple sites over multiple years.
11 Q.    Okay.    And so the reports that you're referring to, are
12 those specifically mentioned in your report, the ones that you
13 used?
14 A.    I don't believe I specifically referenced them in the
15 report, but the Geosyntec 2017 report has it, the Mundell
16 report from 2008 has it, the -- it starts with a W.             I forget
17 what that consultant is.        They have two reports from -- hold
18 on.     I can look up what the --
19               Oh, Heartland.    Sorry.    Heartland has a 2011 and
20 2012 report that each all show groundwater elevations in that
21 area.
22 Q.    And for the record, before completing that answer, you
23 referred to your expert report in this case; is that correct?
24 A.    I did.
25 Q.    You mentioned the final investigation report by Geosyntec
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 18 of 162 PageID #:
                                  10083
                            LOVE - DIRECT/GRIGGS                  Vol. 5-833

  1 of 2017.     I believe that says that the depth to groundwater
  2 across the plume area ranges between 11 and 16 feet.            Is that
  3 consistent with your memory?
  4 A.   It is.
  5 Q.   And did you -- what did you do to determine what the
  6 groundwater -- depth of the groundwater was at the Moran site
  7 specifically?
  8 A.   One of the Heartland reports, I believe, is of the Moran
  9 site.    I would have to go back and look at whether it was 2011
10 or 2012, but I believe there were groundwater elevations at
11 the Moran site from that report.
12 Q.    And what do you believe those groundwater elevations were?
13 A.    In that same range that I described.
14 Q.    But you don't remember a specific number?
15 A.    I have not put it to memory, no.
16 Q.    If the Heartland report indicated saturated conditions at
17 15 feet, would that be inconsistent with your recollection?
18 A.    No.   I believe what I said was that most of the elevations
19 were between 10 and 15 feet.
20 Q.    Okay.    What I'm trying to get at is:       What were they
21 specifically at the Moran site?
22 A.    I would have to go back to the report to see specifically
23 what was reported.
24 Q.    We'll let the report speak for itself.
25               If it was 15 feet to the groundwater, is there a
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 19 of 162 PageID #:
                                  10084
                            LOVE - DIRECT/GRIGGS                  Vol. 5-834

  1 reason you couldn't have used a soil data point from 11 feet?
  2 A.   Well, there -- like I said, across the whole region, the
  3 groundwater levels were measured between 1,015 feet.            Just
  4 because at one point in time it was measured at 15 feet
  5 doesn't mean that it was always at 15 feet.           The idea was to
  6 capture the depth which groundwater had -- you know, wouldn't
  7 have essentially cross contaminated it.
  8 Q.   And what I want to understand is:         What did you do to
  9 determine whether that fluctuation existed at the Moran site?
10 A.    I mean, these sites are pretty close together.           And so
11 when you look at the fluctuations from, you know, 100 feet
12 away, 200 feet away, there's no reason to think that
13 fluctuation wouldn't be reflected in the site adjacent to it.
14 That's just -- groundwater typically fluctuates together on
15 that sort of scale.
16 Q.    Is that an assumption based on your experience or are you
17 thinking of a specific report that you read in this case?
18 A.    I'm not sure what you're referring to.
19 Q.    You said that they're close together; they tend to be
20 similar if they're close together.          And I was trying to
21 understand whether you were saying that, based on your
22 experience, that's what you have seen, or is there something
23 in a report in this case that led you to believe that the
24 groundwater elevations between sites would be about the same?
25 A.    Well, so, I know the sites are close together because I
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 20 of 162 PageID #:
                                  10085
                            LOVE - DIRECT/GRIGGS                  Vol. 5-835

  1 have maps and I've been to the sites, so I know they're close
  2 together from having been there.         In terms of groundwater
  3 fluctuating together as a single -- I mean, that's my
  4 experience doing hydrogeology and as a geologist and having
  5 looked at hundreds and hundreds of sites with groundwater
  6 elevation and looking at how they fluctuate over time.
  7 Q.   Okay.    Did you look at the underlying geology for the
  8 sites in this case?
  9 A.   I have looked at the underlying sites and the geology
10 where that's available, yes.
11 Q.    Okay.    And so you reviewed boring logs from the various
12 sites?
13 A.    Some of them.
14 Q.    And do the boring logs typically reflect the depth at
15 which they encounter groundwater?
16 A.    Sometimes they do and sometimes they don't.
17 Q.    Can you think of a single report in this case where that
18 wasn't shown on a boring log?
19 A.    I couldn't recall every boring log as I'm sitting here.
20 Q.    What about the laboratory reports themselves, did you look
21 at the laboratory results for any of the soil samples below 10
22 feet in depth for things like the moisture content?
23 A.    No.
24 Q.    I believe that you said that one of the bases for
25 excluding the soil matrix samples that were taken deeper than
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 21 of 162 PageID #:
                                  10086
                            LOVE - DIRECT/GRIGGS                  Vol. 5-836

  1 10 feet is that they were suspect, your words.           Do you recall
  2 that?
  3 A.   Yes.
  4 Q.   And what I want to know is:        Would further review of the
  5 available reports and/or -- by reports, I mean the laboratory
  6 reports -- have given an indication of whether the conditions
  7 that were suspect were actually present?
  8 A.   No.    They wouldn't have helped me determine whether or not
  9 the sample itself was suspect, because, again, at the time of
10 the sampling, whether it was fully saturated or not doesn't
11 mean that, with the fluctuating groundwater table, it hadn't
12 been saturated previously and had stuff transported
13 horizontally from another location.          I mean, you start to get
14 into a gray area where you just can't trust, if you got a
15 number, that that number was actually from the site above it.
16 Q.    Are you aware that at each of the upgradient sites that a
17 soil excavation occurred?
18 A.    Yes.
19 Q.    And the details about those excavations are from the
20 reports that you read in this case?
21 A.    Yes.
22 Q.    And those are reflected in your expert report, those
23 details?
24 A.    Yes.
25 Q.    The volume, tonnage that was removed, those sorts of
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 22 of 162 PageID #:
                                  10087
                            LOVE - DIRECT/GRIGGS                  Vol. 5-837

  1 things?
  2 A.   That's right.
  3 Q.   And I believe that you have indicated that, in your
  4 opinion, there is sufficient pre-excavation data on which to
  5 base your opinions in this case?
  6 A.   There's a lot of data in this case.         I mean, this data has
  7 more soil samples than most sites that I work on.            And so in
  8 terms of samples of native soil, including pre-excavation, as
  9 well as samples that were taken of native soil during the
10 excavation process, there's plenty of data in order for me to
11 do the analysis that I needed to do.
12 Q.    Okay.    Do you know how deep the excavation was on the
13 Moran property?
14 A.    You know, I'd want to go back to the report to look at it
15 specifically, but I believe it might have been down to 15
16 feet.
17 Q.    Okay.    And that would be one of the Heartland reports of
18 either 2011 or 2012?
19 A.    I believe that's right.
20 Q.    If you dig a hole, excavate soil deep enough that you
21 reach the groundwater table, what will happen in the hole?
22 A.    Water will start to flow into the hole.
23 Q.    Do you recall anything in either of the Heartland reports
24 indicating that water infiltrated the excavation?
25 A.    It may not be the Heartland report from 2011 or 2012 that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 23 of 162 PageID #:
                                  10088
                            LOVE - DIRECT/GRIGGS                  Vol. 5-838

  1 has the excavation details.        I'd want to go back and check.        I
  2 don't specifically remember them talking about dewatering the
  3 excavation, but I would need to go back in order to see
  4 whether or not there was any specific details along that line.
  5 Q.   Okay.    And you also are aware that there was an excavation
  6 at the Ertel site?
  7 A.   Yes.
  8 Q.   And that was done by a different environmental consultant
  9 but by the same individual?
10 A.    That's my understanding.
11 Q.    He switched companies; right?
12 A.    Yes.
13 Q.    And does that report, to your recollection, indicate that
14 they did, in fact, have to remove 20,000 gallons of water that
15 infiltrated the excavation?
16 A.    I don't recall that, but I hadn't been looking for that
17 information.
18 Q.    And you don't recall what the depth of that excavation
19 was?
20 A.    Not off the top of my head, no.
21 Q.    In performing your analysis in this case, one of the
22 things that you ultimately did was to compare the total
23 chlorinated solvent mass between the various source
24 properties; is that correct?
25 A.    Yes.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 24 of 162 PageID #:
                                  10089
                            LOVE - DIRECT/GRIGGS                  Vol. 5-839

  1 Q.   And which data did you use to accomplish that part of your
  2 analysis?
  3 A.   So I separated between the upgradient properties and the
  4 downgradient plume using groundwater data.           And then from
  5 that, you could see the specific impact of the Von Duprin
  6 property on the downgradient plume.         And so the groundwater
  7 data was used to separate Von Duprin's contributions to the
  8 groundwater plume from the upgradient parties.           And then in
  9 the upgradient area, I used the groundwater data for two very
10 small areas, the north part of the Ertel site and the Zimmer
11 building.      So I used the groundwater data for there.         And then
12 the soil data is what I used in order to apportion between the
13 Zimmer Paper, the Ertel, and the Moran site.
14 Q.    Okay.    Which came first, the separation between upgradient
15 and downgradient using groundwater data or the evaluation of
16 the three upgradient properties' contribution?
17 A.    Process-wise, the first was to divide between the
18 downgradient/upgradient and then to identify Von Duprin's
19 contribution to the downgradient plume.
20 Q.    And I believe in your expert report, you have a diagram
21 that indicates what area is considered upgradient and what
22 area is considered downgradient.          Is my memory correct?
23 A.    I do.
24 Q.    And it may, in fact, be repeated a couple of times.
25               I'm looking at figure 3-1.       Is that reflective -- it
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 25 of 162 PageID #:
                                  10090
                            LOVE - DIRECT/GRIGGS                  Vol. 5-840

  1 has a dotted line that says "upgradient plume"; and under the
  2 line, it says "downgradient plume"?
  3 A.   Yes.
  4 Q.   Is there a better diagram in your report that you would
  5 look to for that separation?
  6 A.   B-1 is the other one that specifies the upgradient, and
  7 then everything down from there is the downgradient area.
  8 Q.   That was B, as in boy, 1?
  9 A.   Yeah.
10               But I actually think figure 3.1 is a better one,
11 yeah.
12 Q.    Okay.    And it looks to me that you've identified a
13 particular boring location, TRMW9DD, as kind of the corner
14 point; is that correct?
15 A.    That's correct.
16 Q.    And if I understand the analysis, you're saying that you
17 were able to use groundwater data to determine how much of the
18 plume is in the downgradient area and how much is in the
19 upgradient area; is that correct?
20 A.    From a total mass, yes.
21 Q.    Total CVOC mass?
22 A.    That's right.
23 Q.    And just -- that result is actually shown on a table a
24 couple of pages before figure 3.1, correct; actually, the page
25 right before, table 2?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 26 of 162 PageID #:
                                  10091
                            LOVE - DIRECT/GRIGGS                  Vol. 5-841

  1 A.   That's right.
  2 Q.   And that's also the table that indicates that for the
  3 upgradient source areas, Von Duprin gets a zero?
  4 A.   That's right.
  5 Q.   Okay.    Tell me, if you can, in layman's terms, what you
  6 did to come up with the upgradient percentage and the
  7 downgradient percentage.
  8 A.   So the four constituents that we talked about, PCE, TCE,
  9 DCE, and vinyl chloride, were all averaged and summed at each
10 location, and then the mass that was in the hole plume was
11 integrated to calculate what the total mass would be in the
12 upgradient area and in the downgradient area.            And then the
13 relative amount of mass was compared to get the division
14 between 13 percent upgradient and 87 percent downgradient.
15 Q.    And the concentrations that you mentioned, were those from
16 specific borings or did you use the entire upgradient set of
17 borings to determine that concentration?
18 A.    So all of the upgradient groundwater data was used for
19 those calculations.
20 Q.    And you mentioned a word, that you integrated them.            Can
21 you explain what that means?
22 A.    Yeah.    So in environmental science, you have lots of data
23 opinions, but you have to be able to interpolate in between
24 data points to sort of say:         Here's what we think the
25 concentration is in between these areas where we have known
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 27 of 162 PageID #:
                                  10092
                            LOVE - DIRECT/GRIGGS                  Vol. 5-842

  1 concentrations.      And so we typically do that by drawing
  2 contours of lines that are -- instead of the same
  3 concentration.      And then based on that, you can take the
  4 blocks of different concentrations and sum them up throughout
  5 the entire plume in order to get the total amount of mass
  6 that's in that hole shape that is the plume.
  7 Q.   In order to go from a concentration value -- and I think
  8 you said you averaged time and depth average, CVOC
  9 concentrations?
10 A.    That's right.
11 Q.    To go from that concentration to a mass number, don't you
12 need a volume?
13 A.    So in this case because --
14 Q.    Yes or no?
15 A.    If you wanted to get a volume, you would need a volume --
16 if you wanted to get an actual mass number, you would need a
17 volume.
18 Q.    And now please explain how that works.
19 A.    And so what -- because we were essentially time and depth
20 averaging all the points, we got essentially a mass per unit
21 depth as the unit in our calculation.           You could easily
22 translate that into a mass just by doing the calculation of
23 what you wanted to assume the depth was.           But in terms of the
24 actual mathematics, the units themselves are not strictly a
25 mass; they're a mass-per-unit depth.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 28 of 162 PageID #:
                                  10093
                            LOVE - DIRECT/GRIGGS                  Vol. 5-843

  1 Q.   So was it necessary to actually convert the concentrations
  2 into mass or were you able to not have to go through that step
  3 in the calculation?
  4 A.   Because I was just looking for a relative contribution, I
  5 didn't need to go through that step.
  6 Q.   And since we're talking about groundwater only, you used
  7 all of the upgradient groundwater data.          Did you also use all
  8 of the downgradient groundwater data in determining that
  9 value, the contribution from that area?
10 A.    I did.
11 Q.    The number that you calculated that's based on all of the
12 groundwater data, apparently, both upgradient and
13 downgradient, it was as accurate as you could make it based on
14 the data you had?
15 A.    I believe so, yes.
16 Q.    And the data set, there are a few outliers, but I believe
17 that the bulk of the data comes from the time period from 2005
18 to 2017; is that consistent with your recollection?
19 A.    Yes.
20 Q.    And what we don't have is data from earlier time periods?
21 A.    That's right.
22 Q.    And so I guess the question is:        Does your division
23 between upgradient and downgradient reflect the conditions now
24 or do they somehow reflect historical conditions?
25 A.    No, they would reflect conditions that include now,
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 29 of 162 PageID #:
                                  10094
                            LOVE - DIRECT/GRIGGS                  Vol. 5-844

  1 because we have data up until recent.          It would also include
  2 data that's a little bit older.         But the presumption is, and
  3 based on the operations, that, you know, these releases
  4 happened a fair amount of time ago and that this plume, for
  5 the most part, appears to be fairly stable.           And so I don't
  6 think there's been a dramatic change in the extent and
  7 magnitude of the contamination over that 10-year period.
  8 Q.   Okay.    So within the range of the data, 10 or 12 years,
  9 whatever it is -- I think 2005 to 2017.          It might be 12 or 13
10 years -- you think it's representative of that entire period,
11 given the stability of the plume and, you know, the variations
12 over time?
13 A.    I think it's a reasonable representation of how much --
14 the relative proportions.
15 Q.    And the data that you used, particularly in the upgradient
16 area, included groundwater data that was taken after the soil
17 excavations had occurred at the upgradient properties?
18 A.    Yes.
19 Q.    And did those excavations have an effect on the
20 groundwater data?
21 A.    Not an observed one.
22 Q.    Okay.    Is that a function of time, they hadn't had time,
23 or that typically removing source mass doesn't have an effect
24 on groundwater?
25 A.    Well, it depends on the situation.         At these locations,
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 30 of 162 PageID #:
                                  10095
                            LOVE - DIRECT/GRIGGS                  Vol. 5-845

  1 there appears to be fairly significant releases at each of the
  2 upgradient locations, to the point that there was separate
  3 phase solvent that made it into the groundwater.
  4              While removing the soil mass is obviously a good
  5 thing to do, in terms of the groundwater, most of what its --
  6 most of what's getting into the groundwater is likely from the
  7 solvent that's in the groundwater itself, more so than what's
  8 coming -- continuing to sort of come down from the soil above.
  9 And so, because there's this source of solvent in the
10 groundwater itself, you wouldn't necessarily expect a
11 significant change in the groundwater in the upgradient area.
12 Q.    Okay.    And so if the upgradient groundwater sampling data
13 set, the entire data set, reflects a certain percentage of the
14 total chlorinated solvent mass, as in the upgradient area,
15 what did you do to account for the fact that when the
16 contamination reached the groundwater, it began moving
17 downgradient towards the downgradient area?
18 A.    I gave a portion of the CVOC allocation to upgradient
19 parties in the downgradient area that were proportional to
20 what their contribution was in the upgradient area.
21 Q.    So relative to one another, my understanding, that the
22 ratio of mass contribution between the three upgradient
23 properties in the upgradient area is the same ratio I would
24 see in the downgradient area between those same three sources?
25 A.    That's right, whatever was not assigned to the Von Duprin
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 31 of 162 PageID #:
                                  10096
                            LOVE - DIRECT/GRIGGS                  Vol. 5-846

  1 property.
  2 Q.   How did you determine how much mass in the downgradient
  3 area was reflective of chlorinated solvent mass that had moved
  4 from the upgradient sources?
  5 A.   I essentially assigned all of it that wasn't -- that I
  6 didn't directly attribute to Von Duprin.          All of the rest was
  7 assigned to the upgradient parties.
  8 Q.   So in the case of the downgradient area, you started with
  9 Von Duprin and did a calculation or set of calculations to
10 determine their contribution, and whatever didn't come from
11 Von Duprin came from the upgradient sources?
12 A.    That's right.     And other lines of evidence supported that
13 that was a reasonable approach.
14 Q.    Okay.    We're here.    I might as well talk about it.        Tell
15 me about the calculation you did for the Von Duprin site and
16 how you determined how much contribution it was making to the
17 groundwater.
18 A.    So when you look at the groundwater concentrations and how
19 they change as you move from upgradient to downgradient, right
20 at the upgradient boundary of the Von Duprin property, both
21 the magnitude of the concentration, as well as the chemical
22 characteristics, change dramatically.           The concentration goes
23 up a factor of five and the concentrations change from being
24 TCE dominated to PCE dominated.          So that was a clear
25 indication, step one, that there was divisibility that you
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 32 of 162 PageID #:
                                  10097
                            LOVE - DIRECT/GRIGGS                  Vol. 5-847

  1 could achieve just by looking at those things between Von
  2 Duprin and the upgradient parties.
  3              In order to calculate what that contribution was,
  4 the PCE, at that point, because there was no upgradient -- no
  5 real upgradient contribution, the PCE was entirely
  6 attributable to the Von Duprin property.
  7              And then there was also excess TCE that you saw when
  8 you -- when the plume reached the Von Duprin property, and so
  9 we used the ratio of PCE and TCE that was in the shallow soil
10 of the Von Duprin property to attribute or assign both the PCE
11 and the relative -- you know, comparable proportion of TCE
12 that was seen in the overlying soil.           When you do that, it
13 turns out the amount of TCE that's left looks just like what
14 was coming in from the upgradient property.            So that affirmed
15 that that approach was reasonable and physically consistent
16 and fit together in a coherent conceptual site model.
17 Q.    Okay.    So the calculations that you did ended up in a
18 table, I believe.       In your report table 1, is that where the
19 results would be found that you've just described?
20 A.    Table 1 is the actual specific concentrations of TCE, PCE,
21 DCE, and vinyl chloride, upgradient of -- immediately
22 upgradient of the Von Duprin property and then as you get to
23 the area where the contamination jumps up on the Von Duprin
24 property.
25 Q.    And in looking at this table, it's split into two parts,
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 33 of 162 PageID #:
                                  10098
                            LOVE - DIRECT/GRIGGS                  Vol. 5-848

  1 upgradient and downgradient; correct?
  2 A.   Yes.
  3 Q.   And that for each of those parts, there's an average line.
  4 Do you see that?
  5 A.   Yes.
  6 Q.   And is that the simple arithmetic average of the numbers
  7 in the table above it?
  8 A.   Yes.
  9 Q.   So if there are one, two, three, four, five, six, seven,
10 eight, nine samples in the upgradient area, if you sum those
11 up and divide by 9, I should get what's at the bottom of the
12 column?
13 A.    Yes.
14 Q.    And because this is titled "time and depth averaged CVOC
15 concentrations and micrograms per liter," does each location
16 reflect a number of samples from that location?
17 A.    Yes.
18 Q.    And that's the average number?
19 A.    That's right.
20 Q.    And how did you select the locations that are shown in the
21 upgradient portion of this table?
22 A.    These are all of the groundwater monitoring locations that
23 are immediately upgradient.
24 Q.    Immediately upgradient of that corner point, MW9DD?
25 A.    That's right.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 34 of 162 PageID #:
                                  10099
                            LOVE - DIRECT/GRIGGS                  Vol. 5-849

  1 Q.   Okay.    And they happen to all be on the Von Duprin
  2 property; is that correct?
  3 A.   I believe that's correct.        Yeah, I believe that's correct.
  4 I believe they're all on the Von Duprin property.
  5 Q.   Several of the samples indicated here in this upgradient
  6 section have similar identification tags.          I'm looking
  7 particularly at TRMW6, TRMW6D.
  8              THE COURT:    Now, counsel, it would be nice if I
  9 could see what you're looking at, because I don't know what --
10               MR. GRIGGS:    Since they had given the witness a
11 copy, I assumed they had given you one, but --
12               THE COURT:    No.
13               MR. GRIGGS:    Here you go.    Sorry about that.
14               THE COURT:    All right.
15               And where are we?     What page are we on?
16               MR. GRIGGS:    We're on table --
17               THE WITNESS:    21 of the report, page 21.
18               THE COURT:    All right.    For the record, the parties
19 have -- well, for the record, Mr. Griggs has provided the
20 Court a copy of the expert report of Dr. Adam H. Love.
21               All right.    Page 21.   Thank you.
22 BY MR. GRIGGS:
23 Q.    So we're looking at three particular entries on table 1 at
24 the top, TRMW6, TRMW6D, TRMW6DD.          Do you see that?
25 A.    Yes.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 35 of 162 PageID #:
                                  10100
                            LOVE - DIRECT/GRIGGS                  Vol. 5-850

  1 Q.   What is the relationship between those three sampling
  2 points?
  3 A.   I believe those are nested wells.
  4 Q.   Okay.    And what is a nested well?
  5 A.   Wells at the same location that are -- essentially at the
  6 same that are taken at different depths, the groundwater at
  7 different depths.
  8 Q.   So if we're using time and depth average, CVOC
  9 concentrations, why didn't you average 6, 6D, and 6DD?
10 A.    Yeah.    I mean, I could have.      It obviously wouldn't have
11 changed the numbers at all in terms of the average of the
12 average.      But the -- you know, they're essentially separate
13 wells, right, because they're just nested, and so I could have
14 averaged them; I could have kept them separate.             It doesn't
15 change at all what the concentrations are.
16 Q.    So you don't consider that having those three separate
17 changed your average line in any way?           The average would have
18 been the same?
19 A.    Let's see.     Six has a value of 4.      6D has a value of zero.
20 6DD has a value of 22.
21               By having those numbers in three times, it would
22 bring the average of the nine samples down a little bit, but,
23 I mean, we're talking about the difference of -- you know, it
24 might have brought it, you know, down to 37 from 45; right?
25 We're not talking about -- we're not talking about a
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 36 of 162 PageID #:
                                  10101
                            LOVE - DIRECT/GRIGGS                  Vol. 5-851

  1 meaningful --
  2 Q.   Or 32 from 37?     There is no 45.     It would go down from 37?
  3 A.   If we combine those, there would be fewer numbers and
  4 so -- and that number would be smaller and so the PC number
  5 would actually be higher --
  6 Q.   Okay.
  7 A.   -- if we dropped those out.        But, again, it would be
  8 higher by the difference between like 37 and 45; right.             I
  9 mean, we're not talking about -- that's not a meaningful
10 difference in this analysis.
11 Q.    Okay.    That is -- you're focused on the PCE column, right,
12 relatively small numbers there?
13 A.    Yes.
14 Q.    If we move across to the TCE column --
15               THE COURT:    Counsel, this only goes to page 18.          I
16 don't have that chart you all are looking at.
17               (Off the record.)
18               THE COURT:    Tanesa said it's Von Duprin Exhibit 101,
19 for the record?
20               MR. GRIGGS:    Yes, that's correct.
21               THE COURT:    Do you need this one back?
22               MR. GRIGGS:    No.    You can have that.
23               THE COURT:    Okay.
24               MR. GRIGGS:    Thank you.
25               THE COURT:    All right.    Now I see the table.      Okay.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 37 of 162 PageID #:
                                  10102
                            LOVE - DIRECT/GRIGGS                  Vol. 5-852

  1 BY MR. GRIGGS:
  2 Q.   Let's look at table 1, the bottom portion, downgradient.
  3 We have a TRMW9D and a TRMW9DD.         Do you see those?
  4 A.   I do.
  5 Q.   Could those have been depth averaged together, as well?
  6 A.   They could have been.
  7 Q.   They're nested wells, again?
  8 A.   They are also nested wells.
  9 Q.   But we're missing one of the three nested wells, right?
10 Where is MW9?
11 A.    I don't know.
12 Q.    Do you know what the values were at MW9 and how they would
13 have affected this average?
14 A.    I would have to go back to the original data source to see
15 what that was.
16 Q.    Can you explain why you didn't choose to use MW9, which
17 is --
18               COURT REPORTER:     I'm sorry.    I lost you.    Please
19 start again.
20 BY MR. GRIGGS:
21 Q.    Can you explain why you didn't use MW9, which meets the
22 criteria of being close to the boundary between upgradient and
23 downgradient?
24 A.    I can't off the top of my head.        I would want to go back
25 and look at the data in order to have an explanation for you.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 38 of 162 PageID #:
                                  10103
                            LOVE - DIRECT/GRIGGS                  Vol. 5-853

  1 Q.   In the middle of that set -- and there are only seven data
  2 points in the downgradient -- there's a VAP-21/SBJTV-1e and a
  3 B332.    Do you see those two; they're right together?
  4 A.   I do.
  5 Q.   Do you know what the relationship is between those two
  6 wells?
  7 A.   Not off the top of my head.
  8 Q.   Okay.    In your report, there's a diagram showing where
  9 these are actually located; is that correct?
10 A.    Yes.
11 Q.    And do you have that picture handy?
12 A.    I do.
13 Q.    The one I'm looking at is figure 3-2.         Is that the right
14 one?
15 A.    Yes.
16 Q.    Okay.    It's a little small.
17               THE COURT:    Now, where is it?
18               MR. GRIGGS:    Page 24.
19               THE COURT:    Okay.   Got it.
20 BY MR. GRIGGS:
21 Q.    And, Dr. Love, the upgradient locations are in blue on
22 this diagram; is that correct?
23 A.    That's right.
24 Q.    And the downgradient ones are in red?
25 A.    That's right.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 39 of 162 PageID #:
                                  10104
                            LOVE - DIRECT/GRIGGS                  Vol. 5-854

  1 Q.   And the two we were just talking about, VAP 21 and B332,
  2 do you see where those two are?
  3 A.   I do.
  4 Q.   And where are they?
  5 A.   They are just downgradient of the site itself.
  6 Q.   Downgradient of the Von Duprin site?
  7 A.   That's right.
  8 Q.   And those are the only two locations that are not on the
  9 Von Duprin property, including both upgradient and
10 downgradient?
11 A.    In this data set, yes.
12 Q.    But you don't recall what the relationship is between
13 those two boring locations?
14 A.    It's been a long time since I put the database together.
15 Q.    If we showed your report indicating that VAP 21 was a
16 replacement well for B332, would that refresh your memory
17 about these being essentially the same well, just at different
18 times?
19 A.    Well, and they're not the same well; they're different
20 wells.     The other wells that are on the property are, you
21 know, equally as close.        And so the fact that they are wells,
22 kind of like the nested wells, the fact that they are close
23 together doesn't mean they're duplicative, right.             They're
24 actually just distance-wise, you know, in close proximity.
25 That doesn't make it duplicative.          That just means that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 40 of 162 PageID #:
                                  10105
                            LOVE - DIRECT/GRIGGS                  Vol. 5-855

  1 they're close together, so you can see how much variability
  2 there is.
  3 Q.   And in terms of the selection criteria for both the
  4 upgradient and the downgradient locations, were those all of
  5 the ground -- all of the borings with available groundwater
  6 data or were some, like MW9, omitted from consideration?
  7 A.   I would have to go back to the database to see if there
  8 was anything omitted.       I don't recall anything being omitted,
  9 so I would have to go back to the database to see if there
10 was.
11 Q.    Let's ask it this way:       We can see what's included; is
12 that correct?      The nine upgradient and the seven downgradient,
13 those you did include, and anything beyond those was excluded?
14 A.    Yes.
15 Q.    Okay.
16 A.    And for this analysis, yes.
17 Q.    My -- you've described the analysis that you did, both
18 with the groundwater, upgradient, downgradient, how the
19 upgradient sources were accounted for in the downgradient.
20 And if I understood your testimony, that's based on the
21 entirety of the groundwater database available in this case?
22 A.    Which portion are we talking about?
23 Q.    Both, all the available groundwater data in the upgradient
24 was used for that, all the available data in the downgradient
25 was used for that, in terms of determining the total mass
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 41 of 162 PageID #:
                                  10106
                            LOVE - DIRECT/GRIGGS                  Vol. 5-856

  1 chlorinated solvent in the groundwater.
  2 A.   All of the data that was reported, yes.
  3 Q.   And you had indicated that you thought that because of the
  4 stability of the plume, I think was the word you used, that
  5 you thought it was fair to treat that monolithically, the
  6 entire data set as a single unit; is that right?
  7 A.   Yes.
  8 Q.   And the data set goes back 12 or 13 years, a few spotty
  9 samples before that.       What does your analysis say about what
10 the conditions were in 1990?
11 A.    It doesn't.
12 Q.    Do you know what the conditions were in 1990?
13 A.    No.
14 Q.    Do you know how much chlorinated solvent mass had moved
15 off of the Ertel site into the groundwater and began flowing
16 in the groundwater direction before it was sampled starting in
17 2004 or '05?
18 A.    No.
19 Q.    And the same is true for the Zimmer Paper Parcel; is that
20 right?
21 A.    That's right.
22 Q.    And for the Moran site?
23 A.    That's right.
24 Q.    And even for the Von Duprin site?
25 A.    That's right.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 42 of 162 PageID #:
                                  10107
                            LOVE - DIRECT/GRIGGS                  Vol. 5-857

  1 Q.   We just don't know what the data -- we don't know the data
  2 we don't know?
  3 A.   We don't know the specific release histories of any of the
  4 sites.
  5 Q.   Okay.    What we do know, I think you agree, is that there
  6 is a specific direction of flow once the contaminants hit the
  7 groundwater; is that correct?
  8 A.   That is one of numerous things that we know.
  9 Q.   Okay.    And in this case, you're aware of what we are
10 terming the plume area, that it extends beyond the Von Duprin
11 property?
12 A.    That's right.
13 Q.    And are you aware that it extends into some residential
14 areas?
15 A.    Yes.
16 Q.    Did you happen to see those when you visited the site?
17 A.    I have.
18 Q.    Okay.    One of the issues where we probably don't agree has
19 to do with this concept of divisibility of harm.             Are you
20 familiar with that term?
21 A.    I am.
22 Q.    And what is the harm that we're talking about when we use
23 that term?
24 A.    So in this case, the harm is apportioned based on the mass
25 contribution.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 43 of 162 PageID #:
                                  10108
                            LOVE - DIRECT/GRIGGS                  Vol. 5-858

  1 Q.   Okay.    I understand that.     My question is:     What is the
  2 harm itself?     What's the single harm that's being divided?
  3 A.   The chlorinated solvents in the environment.
  4 Q.   Okay.    And those chlorinated solvents have existed at some
  5 point in time in soil which has now been largely excavated.
  6 They predominantly now exist in groundwater; is that correct?
  7 A.   Predominantly, yes.
  8 Q.   And what harm or what risk of harm do those chlorinated
  9 solvents pose where they are now in the groundwater?
10 A.    I want to make sure I understand your question.           You're
11 asking me:      What is the risk of having chlorinated solvents in
12 groundwater?
13 Q.    Yeah.    I'm associating harm and risk.
14 A.    Okay.
15 Q.    What's -- they're in the ground.         What's the problem?
16 A.    People could be exposed to them.
17 Q.    Okay.    Are they drinking it?
18 A.    I don't believe so, not in this area.
19 Q.    So we're talking about groundwater that's at least 11 to
20 16 feet below the ground; right?
21 A.    Right.
22 Q.    Any chance they're going to get into it digging posts for
23 playground equipment?
24 A.    Not unless they're doing something crazy.
25 Q.    And even utility lines, likely, aren't going to be that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 44 of 162 PageID #:
                                  10109
                            LOVE - DIRECT/GRIGGS                  Vol. 5-859

  1 deep, correct?
  2 A.   That's right.
  3 Q.   So where's the exposure?
  4 A.   It's most likely to be through vapor exposure.
  5 Q.   Okay.    Explain that, please.
  6 A.   So the chlorinated solvents in groundwater will vaporize
  7 from the top of the groundwater into the soil.           That vapor
  8 will continue to travel upwards towards the surface.            And if
  9 there is a way for that vapor to get inside somebody's house,
10 that can be an indoor exposure hazard, if it's at a high
11 enough concentration.
12 Q.    So the contaminant molecules can separate from the water,
13 move through the soil column, I guess it's called, and get
14 into a house or other structure?          That's what you're
15 describing?
16 A.    Yes, that's possible.
17 Q.    Okay.    In your analysis of the divisibility of the harm,
18 do you distinguish between the different chlorinated solvent
19 types?
20 A.    I don't, because this sort of class of contaminants has a
21 fairly similar sort of toxicity range.
22               In other allocations that I've done, when you're
23 looking at very different families, you might, you know, sort
24 of apportion based on toxicity first, but -- you know, the
25 specific toxicity of the molecule because there's big
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 45 of 162 PageID #:
                                  10110
                            LOVE - DIRECT/GRIGGS                  Vol. 5-860

  1 differences.     In this case, the toxicity is fairly comparable
  2 and so I essentially weighted them all equally.
  3 Q.   So where in your report do you talk about the relative
  4 toxicities of the CVOC types?
  5 A.   I didn't.
  6 Q.   So that's a new opinion today, that, one, they're about
  7 the same toxicity?
  8 A.   Well, no.    I mean, you asked me in terms of why I didn't,
  9 you know, address them differently.         I'm telling you the
10 answer of why I didn't address them differently.             Typically,
11 in these sorts of allocations, chlorinated solvents, the
12 apportionments are done on a mass basis, because the
13 difference in toxicity in pathway and exposure is either
14 open-ended or, you know, comparable enough that you wouldn't
15 make that difference.
16 Q.    Okay.
17 A.    Especially in this case with PCE, which degrades to TCE.
18 There's essentially the possibility that any PCE could be the
19 equal toxicity of TCE.        And so there's no difference,
20 obviously, in the potential toxicity from PCE versus TCE.
21 Q.    And did you do any calculations to measure the rate of
22 degradation between PCE and TCE?
23 A.    There's not enough data at this site to do that
24 calculation.
25 Q.    So you're just saying that, in the normal degradation
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 46 of 162 PageID #:
                                  10111
                            LOVE - DIRECT/GRIGGS                  Vol. 5-861

  1 process, under the right conditions, PCE does degrade to TCE?
  2 A.   Yes.    And we know that those conditions exist at this site
  3 because you can see the degradation of the chlorinated
  4 solvents in the groundwater.
  5 Q.   You can see the further degradation by product SIS or DCE
  6 and vinyl chloride a little bit?
  7 A.   That's right.
  8 Q.   But you didn't attempt to quantify it; there's not enough
  9 data for that?
10 A.    That's right.
11 Q.    Okay.    Do you know whether any actions have been taken to
12 address vapor intrusion related to this chlorinated solvent
13 plume?
14 A.    I didn't look into that at all.
15 Q.    So you would not know which chemical is requiring vapor
16 mitigation of any structures?
17 A.    I have not reviewed any human health risk assessment.
18 Q.    Okay.    And so you would not also have any information
19 about what concentrations, relative concentrations, are in
20 these structures between, say, TCE and PCE and DCE and vinyl
21 chloride?
22 A.    Are you talking about indoor air concentrations?
23 Q.    Yes.
24 A.    I have not reviewed indoor air concentrations.
25 Q.    What is the basis for your statement that the relative
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 47 of 162 PageID #:
                                  10112
                            LOVE - DIRECT/GRIGGS                  Vol. 5-862

  1 toxicities between these particular chlorinated solvents is, I
  2 think you said, roughly the same?
  3 A.   Well, it's primarily with PCE and TCE, again, because PCE
  4 degrades to TCE, the potential toxicity is equivalent, since
  5 every PCE -- PCE has its own toxicity.          But because PCE can
  6 degrade to TCE, the potential toxicity of TCE versus PCE over
  7 the lifetime of the plume isn't different at all.
  8 Q.   Okay.    So until it degrades, it does have a distinct
  9 toxicity and it's lower than TCE?
10 A.    It is slightly lower than TCE.        It's not a lot lower than
11 TCE.
12 Q.    Is it one order of magnitude lower?
13 A.    It depends on what criteria you're using.
14 Q.    Fair question.
15               In Indiana, are you aware of the relative toxicities
16 between TCE and PCE?
17 A.    I don't believe the toxicities depend on state, and that's
18 usually performed by a human health risk assessment person,
19 and I have not seen any reports on a site-specific human
20 health risk assessment at this site.
21 Q.    So you're not aware of whether the state environmental
22 agency publishes values of what they consider to be a safe
23 exposure for TCE and a safe exposure level for PCE?
24 A.    I mean, typically states have screening levels, but most
25 sites perform site-specific risk assessments in order to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 48 of 162 PageID #:
                                  10113
                            LOVE - DIRECT/GRIGGS                  Vol. 5-863

  1 understand, because the screening levels are a starting point.
  2 They're not necessarily a decision criteria.
  3 Q.   Okay.    But for purposes of your analysis and the potential
  4 for harm to human receptors, you treated all of the
  5 chlorinated solvent molecules the same?
  6 A.   Yes.
  7 Q.   Do PCE and TCE have different soil attenuation values?
  8 A.   When you say "soil attenuation values," what is that
  9 referring to, what type of attenuation?
10 Q.    Let me go to the next question.        Maybe it will be clearer.
11               In your experience and based on sites that you've
12 worked on, has it been your experience that TCE tends to move
13 farther in a plume than PCE?
14 A.    Yes.
15 Q.    Okay.    So they have different relative rates of what we
16 call migration?
17 A.    They do.    I mean, the difference isn't huge, but there is
18 a difference.
19 Q.    Okay.    And did you take that into account in determining
20 the relative harm or potential for harm in this case?
21 A.    No.    The analysis doesn't include any fate and transport
22 modeling of that ilk.
23 Q.    Other than separating the groundwater data into upgradient
24 and downgradient, did you treat groundwater at every depth the
25 same?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 49 of 162 PageID #:
                                  10114
                            LOVE - DIRECT/GRIGGS                  Vol. 5-864

  1 A.   In what way?
  2 Q.   You averaged within a boring?
  3 A.   Yes.
  4 Q.   And other than coming up with an average depth, whether
  5 the concentration comes from 20 feet or 30 feet or 50 feet,
  6 you averaged them all together?
  7 A.   I did.
  8 Q.   Okay.    And in terms of the risk of vapor intrusion, which
  9 poses the greater risk, shallow groundwater with contamination
10 or deep groundwater with contamination?
11 A.    The vapor comes from the shallow groundwater, so that's
12 the groundwater that, you know, the vapor would come from.
13 Q.    So if we were concerned about the potential harm to human
14 receptors, would it be valid to look at the shallow
15 groundwater and the contributions being made to the shallow
16 groundwater?
17 A.    I think that would be one component to look at.
18 Obviously, the deeper groundwater mixes in with shallow
19 groundwater and there's a concentration gradient, and so
20 things go from high concentration to low concentration, and so
21 the high concentrations at depth will move upwards towards the
22 areas of lower concentration.         And so in the longer
23 perspective, the deep groundwater poses a risk, as well.              It
24 just isn't there yet.
25 Q.    Okay.    And the assumption that you've made in giving that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 50 of 162 PageID #:
                                  10115
                            LOVE - DIRECT/GRIGGS                  Vol. 5-865

  1 answer is that the concentration in the deep groundwater is
  2 higher than in the shallow groundwater; that's why it's
  3 driving that direction?
  4 A.   In lots of locations, that's the case.
  5 Q.   Okay.    Of course, the deeper groundwater is -- has a much
  6 further distance to travel to reach a structure at the
  7 surface; correct?
  8 A.   It does.
  9 Q.   And it will eventually interact with the shallow
10 groundwater before reaching that structure?
11 A.    Right.    That's what I was trying to describe, yes.
12 Q.    And so in your analysis, by treating all groundwater,
13 regardless of depth, you made no differentiation between
14 shallow and deep groundwater?
15 A.    My analysis just looks at the total concentration of
16 CVOCs.     It was not specific with depth.
17 Q.    I wanted to ask you about a couple of specific items that
18 came up in your declaration.         I think, in a couple of cases,
19 they helped to clarify maybe some of the misunderstandings
20 about your expert report and what you had done.
21               This is a sentence in two parts, and I want you to
22 treat each part separately.         The first part says:      Mass
23 contribution to a discharge release or disposal of a hazardous
24 waste is one of the Gore factors.          Is that correct?
25 A.    Yes.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 51 of 162 PageID #:
                                  10116
                            LOVE - DIRECT/GRIGGS                  Vol. 5-866

  1 Q.   Okay.    And is that the only one of the Gore factors that
  2 your analysis touches on?
  3 A.   That's ultimately what I apportion on its mass
  4 contribution, yes.
  5 Q.   But there are other Gore factors?
  6 A.   There are.
  7 Q.   They just don't affect your analysis in this case?
  8 A.   Well, there's Gore factors and there's other allocation
  9 factors, Torres factors.       There's other allocation factors
10 that have been used.
11               You know, I think my experience has been, when you
12 can allocate on mass contribution, that tends to be the one
13 that most people use as the starting point.
14 Q.    We'll forgive you your legal opinion.         But suffice it to
15 say, in this case, that's the one you focused on?
16 A.    It is, yes.
17 Q.    Okay.    And continuing, the same sentence but the
18 second part says:       And -- we're talking about still talking
19 about mass contribution -- is a reasonable basis for
20 apportionment that I have used in numerous other matters.
21               Is that also an accurate statement of your views?
22 A.    Yes.
23               MR. GRIGGS:    I think that's all the questions I have
24 for direct.      I may have some additional questions for cross
25 later.     Thank you.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 52 of 162 PageID #:
                                  10117
                            LOVE - DIRECT/GRIGGS                  Vol. 5-867

  1              THE WITNESS:    Thank you.
  2              THE COURT:    Do you want to take a break or are you
  3 ready?
  4              MR. BOWMAN:    Well, I want to be clear, if I can,
  5 Your Honor.     This is a bit unusual, but we're dealing with it.
  6              Mr. Love, Dr. Love, has been called as part of their
  7 case in chief.
  8              THE COURT:    Correct.
  9              MR. BOWMAN:    I think, for purposes of clarifying his
10 testimony, it would be helpful for me to have 10 minutes for
11 cross.
12               THE COURT:    All right.
13               MR. BOWMAN:    But then we will -- we've done what we
14 can to call witnesses one time.          We would call him back in our
15 case in chief, which is -- will be pretty quickly.
16               THE COURT:    Okay.
17               MR. BOWMAN:    But then can I -- will you -- do you
18 rest after this?
19               MR. GRIGGS:    Yeah.   He's our last witness.
20               MR. BOWMAN:    Yeah.
21               And so then we would have motions to the Court
22 following that with Mr. Love not in the room, we'll hear that,
23 and then I would recall him, and so --
24               THE COURT:    All right.    So you can do your 10-minute
25 cross, and then we'll allow the Major defendants to do their
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 53 of 162 PageID #:
                                  10118
                            LOVE - DIRECT/GRIGGS                  Vol. 5-868

  1 cross, and then we can allow Mr. Griggs to rest.
  2              MR. BOWMAN:    Right.   I just wanted to be clear, then
  3 that --
  4              THE COURT:    All right.    Come and do --
  5              MR. BOWMAN:    -- we will call him again after --
  6              THE COURT:    Fair enough.
  7              MR BOWMAN:    So I'll be very -- I'll be brief with
  8 this one.
  9              THE COURT:    All right.    And Von Duprin, you have
10 several exhibits that you haven't offered, including you
11 referred extensively to Dr. Love's report, which is
12 Exhibit 1 --
13               MR. GRIGGS:    101.
14               THE COURT:    101.
15               So do you want to offer that now?
16               MR. GRIGGS:    Sure, Your Honor.     We would offer
17 Dr. Love's exhibit that he's used in testifying today into the
18 record.
19               THE COURT:    No objection?
20               MR. BOWMAN:    No objection.
21               MS. KRAHULIK:    No objection.
22               THE COURT:    All right.    So 101 is admitted into
23 evidence without objection.
24                            (Plaintiff's Exhibit 101 was

25                            received in evidence.)
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 54 of 162 PageID #:
                                  10119
                               LOVE - CROSS/BOWMAN                Vol. 5-869

  1              THE COURT:    During the break, Mr. Griggs, talk with
  2 Tanesa before you rest, because she says there's others that
  3 you've identified and looked at but haven't offered.
  4              MR. GRIGGS:    I'll talk to her.
  5              THE COURT:    And she'll make sure we get everything
  6 into evidence.
  7              Okay.   You may.
  8              MR. BOWMAN:    Thank you, Your Honor.
  9                            CROSS EXAMINATION

10 BY MR. BOWMAN:
11 Q.    Dr. Love, let's look at this at a higher level and then
12 we'll get down to the minutia.
13               In order to allocate contribution and thus harm in
14 this matter -- and you've looked at it in many other
15 matters -- is it fair to say that one of the cornerstones of
16 your opinion is the fact that there's four distinct areas,
17 geographic areas of release of chlorinated solvents?
18 A.    Right.    I mean, this site is pretty ideal for divisibility
19 because of that, because there are four distinct sites of
20 releases.
21 Q.    The other interesting thing about this site, while it's
22 chlorinated solvent and it's very similar in the harm that it
23 causes, it happens that the upgradient sites were primarily
24 TCE, which is three chlorine molecules, and as you looked at
25 the groundwater of Von Duprin, it was PCE, which is four
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 55 of 162 PageID #:
                                  10120
                              LOVE - CROSS/BOWMAN                 Vol. 5-870

  1 chlorine molecules; right?
  2 A.   Right.    That was a clear difference in chemical
  3 fingerprint that showed the contribution of Von Duprin, not
  4 only that there was a contribution, but really the magnitude
  5 of that contribution to the overall plume.
  6 Q.   Your opinions are thus expressed regarding those
  7 geographic locations, meaning Von Duprin, Ertel, Zimmer, and
  8 Moran; correct?
  9 A.   Yes.    The designations are just on source areas.
10 Q.    While you looked at operations, you expressed no opinions
11 regarding whether any particular party, as you understand it,
12 in this lawsuit, did or did not cause contamination at any of
13 those particular properties; correct?
14 A.    That's right.
15 Q.    You looked at dozens of reports relating to these four
16 different sites; correct?
17 A.    Yes.
18 Q.    Can you quantify -- can you help the Court understand how
19 many reports you and your team had to weed through?
20 A.    Probably 30, at least.
21 Q.    Have any idea -- can you describe for the Court the
22 magnitude of this comprehensive data set that's in evidence
23 and that we're all relying upon?
24 A.    Yeah.    I mean, it's thousands of different individual data
25 points.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 56 of 162 PageID #:
                                  10121
                               LOVE - CROSS/BOWMAN                Vol. 5-871

  1 Q.   And you helped --
  2 A.   Organize and -- you know, organize and then analyze the
  3 data that comes out of it.
  4 Q.   Vetted it?     You vetted it?
  5 A.   Vetted it, checked the database, you know, double-checked
  6 the database against the reports, yes.
  7 Q.   So that's all the work that -- some of the work that's
  8 included that ended up being invoiced to Moran Electric?
  9 A.   Yes.    I mean, that's the fundamental sort of setting the
10 foundation work.
11 Q.    Yeah.
12               There was discussions about depth of groundwater.
13 And the Court has heard this before, but let's go through
14 this.
15               MR. BOWMAN:    I need -- let's have Exhibit 1112.
16 BY MR. BOWMAN:
17 Q.    You were asked about a Heartland report, not shown it.
18 Now I'm showing it to you.         Does this look familiar to you as
19 far as a Heartland report regarding the former Moran Electric
20 property from 2011?
21 A.    Yes, this is the 2011 report that I was referring to.
22 Q.    Okay.    Let's look at 31 of 175.
23               MR. BOWMAN:    And we'll need to turn it and zoom in a
24 bit.
25
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 57 of 162 PageID #:
                                  10122
                               LOVE - CROSS/BOWMAN                Vol. 5-872

  1 BY MR. BOWMAN:
  2 Q.   Look over on the left for us there.         Do you remember
  3 seeing this table 10?
  4 A.   I do.
  5 Q.   Tell us and the Court, for the monitoring wells identified
  6 there, what depth the groundwater there is reported?
  7 A.   So in 2011, the depth of groundwater range, from
  8 essentially 10 feet to about 13-and-a-half feet.
  9 Q.   Okay.    And we can go to a figure.       But was it your
10 understanding, can we just establish for the record, that
11 these were monitoring wells on the Moran site?
12 A.    That's right.
13 Q.    Okay.    Let's go to Exhibit 1107, the Mundell report.
14               MR. BOWMAN:    And we'll turn that.
15 BY MR. BOWMAN:
16 Q.    Does that look familiar to you, the Mundell baseline
17 report?
18 A.    Yes.    That's from 2008, I believe.       Yeah.
19 Q.    If we look on page 12 of that report, which is the PDF, 19
20 of 57, second full paragraph.         Let's see.    The second full
21 paragraph.
22 A.    No.    This is geophysical survey.
23 Q.    Yeah.
24               Need PDF, page 19 of this report.        If you look in
25 the second full paragraph -- I'll let you find it there -- do
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 58 of 162 PageID #:
                                  10123
                              LOVE - CROSS/BOWMAN                 Vol. 5-873

  1 you remember seeing what Mundell reported for --
  2 A.   Yes.    Mundell reported the depth to groundwater ranged
  3 from 11.8 feet to 15.4 feet.
  4 Q.   Now, these are only -- and you saw -- and you saw a
  5 removal report relating to Moran, also; correct?
  6 A.   That's right.
  7 Q.   Okay.    And we can go on and on.      But the point is:      As you
  8 were trying to determine soil samples to take within the
  9 vadose zone, V-A-D-O-S-E -- that we've talked about, meaning
10 an area not impacted by groundwater, you looked at lots of
11 data to come up with the 10-foot; correct?
12 A.    That's right.
13               And, in fact, the Mundell report talks about the
14 sort of saturated zone being something that's impacted by
15 groundwater, and so the Mundell report supports the idea of
16 not using that for the characterization of soil.
17 Q.    If that data was included in the face of your knowledge
18 that every indication is that's within the smear zone, within
19 your area of practice, you would know that you were factoring
20 in soil data that probably, almost certainly, has impact from
21 upgradient properties; correct?
22 A.    It would at least be suspect.        And as an expert, if
23 somebody else did that, I would question that, you know, that
24 that was the appropriate technical thing to do.
25 Q.    Mr. Griggs asked you about the migration of TCE and how it
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 59 of 162 PageID #:
                                  10124
                              LOVE - CROSS/BOWMAN                 Vol. 5-874

  1 differed from PCE.
  2              As I understood your -- as I understand your
  3 opinion, you looked at migration of chlorinated solvents from
  4 upgradient to downgradient and actually considered and looked
  5 at the extent to which TCE was or was not continuing to
  6 migrate from upgradient on to Von Duprin; correct?
  7 A.   That's right, and I was able to do that from observations.
  8 I didn't need to do a groundwater model, you know, a fade and
  9 transport model, as he suggested, in terms of understanding
10 those differences.       You can see that just from the observation
11 in the data itself.
12 Q.    And final point.      By having PCE used at the Von Duprin --
13 shown as impacting at the Von Duprin property, that's a
14 marker; PCE was a marker to allocate between upgradient and
15 downgradient; correct?
16 A.    Right.
17 Q.    You then used:     By reviewing shallow soil samples within
18 vadose zone, from the three other distinct areas, Ertel,
19 Zimmer, and Moran, able to look at that data to analyze
20 contribution to mass; correct?
21 A.    That's right.
22               In fact, if you look at the total CVOCs, you know,
23 the contribution from Von Duprin site appears to be 80 percent
24 of the total CVOC mass, but we didn't assign any of the DCE
25 mass to Von Duprin.       They only got assigned PCE and TCE, and
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 60 of 162 PageID #:
                                  10125
                              LOVE - CROSS/BOWMAN                 Vol. 5-875

  1 so that's -- that, you know, fraction that got assigned to
  2 them is really a minimum apportionment, because any DCE
  3 component was completely assigned to the upgradient parties,
  4 even though we know some of that would have come from the
  5 degradation of the solvents coming off the Von Duprin
  6 property.
  7 Q.   And you got to my point, but I'll punctuate it.
  8              When you had -- there were times like that one when
  9 you could have done a calculation that would have actually
10 made it higher for Von Duprin, downgradient, but you actually
11 factored it in so that it was a lower allocation to Von
12 Duprin; correct?
13 A.    That's right.
14               And so when we talked about, you know, risk, the
15 fact that none of the DCE was assigned to Von Duprin
16 essentially takes out that component and any differential
17 toxicity that may be associated with it.           They didn't get any
18 DCE risk assigned to them and so their percentage is only for
19 PCE and TCE-related risk.
20 Q.    And for the Court to understand, then, through the
21 degradation process, PCE eventually reaches that SIS and those
22 levels; correct?
23 A.    That's right.     After TCE, it becomes less toxic in terms
24 of vapors.
25 Q.    Final point, then.      In this process by which you
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 61 of 162 PageID #:
                                  10126
                              LOVE - CROSS/KRAHULIK               Vol. 5-876

  1 reasonably allocated the contribution and the harm, you can do
  2 that based on the data and don't need to know what happened in
  3 1990, do you?
  4 A.   Right, because we're doing it on current conditions and
  5 so -- and we're assuming everybody's contribution in the plume
  6 itself is commingled, but we can apportion it based on what we
  7 know about the characteristics at each site.
  8              MR. BOWMAN:    Thank you.
  9              THE COURT:    Okay.   All right.    Who's going to do the
10 cross-examination on behalf of Major?           Ms. Krahulik?
11               MS. KRAHULIK:    Yes.
12               THE COURT:    You may.
13                             CROSS EXAMINATION

14 BY MS. KRAHULIK:
15 Q.    Good morning.
16 A.    Good morning.
17 Q.    Now, you just mentioned that you did not assign the DCE to
18 Von Duprin, even though, in table 1, there is DCE in the
19 particular locations that you assigned to the downgradient
20 plume?
21 A.    That's right.
22 Q.    What's the rationale for that?
23 A.    I wasn't sure technically how I would apportion, how I
24 would split that up.        I could have split it up similarly as I
25 did with the PCE and TCE, but I think there's enough technical
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 62 of 162 PageID #:
                                  10127
                             LOVE - CROSS/KRAHULIK                Vol. 5-877

  1 sort of questions that could get raised about it that I chose
  2 just to be very conservative in terms of really keeping the
  3 assignment to the Von Duprin property as small as technically
  4 justifiable.
  5 Q.   But in table 1, you did assign the D, D as in dog, DCE, in
  6 the upgradient, what you've termed the upgradient plume, to
  7 the upgradient properties?
  8 A.   I did.
  9 Q.   Did you assign the downgradient DCE to the upgradient
10 properties?
11 A.    Yes.
12 Q.    So that would skew the numbers in favor of the lower
13 allocation percentage for the downgradient plume?
14 A.    DCE is included in the total mass for both plumes, but
15 essentially all of the DCE is assigned to the upgradient
16 parties.
17 Q.    So that results in a higher number or percentage of the
18 mass contribution for the upgradient plume based on the
19 assignment of downgradient DCE to that plume?
20 A.    Yes.    It is -- it is proportionally -- you know, like I
21 said, Von Duprin, it's sort of the minimal number, and I think
22 there's -- there are technically justifiable reasons that that
23 number could have been larger.
24 Q.    DCE doesn't volatilize to indoor air like PCE and TCE;
25 right?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 63 of 162 PageID #:
                                  10128
                             LOVE - CROSS/KRAHULIK                Vol. 5-878

  1 A.   That was right.
  2 Q.   So would it have been reasonable to have excluded DCE from
  3 your calculations as to upgradient and downgradient?
  4 A.   At the time, I wasn't apportioning based on -- well, and I
  5 still am not apportioning based on hazard.           You could take DCE
  6 out if you wanted to apportion strictly based on hazard, and
  7 you'd get a different allocation.
  8 Q.   Have you done that calculation?
  9 A.   I have not.
10               At the time of doing this, I wasn't even -- it
11 wasn't clear to me what the hazard -- you know, what the --
12 that the total hazard had been determined and whether or not
13 there were any other risks other than indoor air that people
14 were concerned about.
15 Q.    And the corner point of your delineation between the
16 upgradient and downgradient areas was TRMW9DD; right?
17 A.    Yes.
18 Q.    But you excluded that sampling point from your
19 calculations?
20 A.    No.
21 Q.    Well, let's take a look at table 1, which is page 21 of
22 your report.      I don't -- there's 9DD down at the bottom.
23               So you assigned that to the downgradient plume?
24 A.    Yes.
25 Q.    Did you take into consideration the particular activities
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 64 of 162 PageID #:
                                  10129
                             LOVE - CROSS/KRAHULIK                Vol. 5-879

  1 performed on the Von Duprin property near any particular
  2 sampling location in determining whether to assign those
  3 locations to the upgradient or downgradient plumes?
  4 A.   No.
  5 Q.   So you didn't take into consideration the location of the
  6 vapor degreaser, for example?
  7 A.   I did not.
  8 Q.   Are you aware whether the vapor degreaser was nearest
  9 points in the upgradient locations or downgradient locations?
10 A.    My understanding is that it was in the downgradient
11 locations.
12 Q.    You don't believe it was near HPTO5?
13 A.    I have to -- I have seen a picture with a vapor degreaser
14 at that location.       There's other operations that are further
15 south, and maybe I'm thinking about something that's not the
16 vapor degreaser.
17 Q.    And the vapor degreaser general location was assigned in
18 your calculation to the upgradient plume, again, which would
19 skew the numbers lower for Von Duprin as to the downgradient
20 plume, basically giving them the benefit of the doubt in your
21 calculation?
22 A.    Yes.    The benefit of the doubt that says, in that north
23 part of the area, they did not get allocated CVOCs that were
24 in that north part.
25 Q.    Any of them?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 65 of 162 PageID #:
                                  10130
                             LOVE - CROSS/KRAHULIK                Vol. 5-880

  1 A.   Any of them.
  2 Q.   Despite the fact that their degreaser was there?
  3 A.   That's right.
  4 Q.   We talked a little bit about the relative toxicities of
  5 PCE and TCE.     Are you aware of the NIOSH standard for each of
  6 those constituents?
  7 A.   I have read the NIOSH standard but I have not put it to
  8 memory.
  9 Q.   If I told you that the risk -- the immediate risk standard
10 under NIOSH for PCE is at 150 parts per million and TCE is at
11 a thousand parts per million, would that surprise you?
12 A.    No.
13 Q.    And I just want to clarify.        Your allocation analysis
14 performed in this matter does not take into consideration the
15 operations of any particular party, even though you discussed
16 the operations in your report?
17 A.    Right.    No, it just uses the extent and magnitude of
18 contamination in the environment.
19 Q.    And in fact, would it surprise you if I told you the words
20 "Major Tool and Machine" appeared in your report just one time
21 when not referring to the title of this case?
22 A.    That would not surprise me.
23 Q.    And you did not discuss Major Tool and Machine's
24 operations or their effect on the plume?
25 A.    I did not.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 66 of 162 PageID #:
                                  10131
                            LOVE - REDIRECT/GRIGGS                Vol. 5-881

  1              MS. KRAHULIK:    Thank you.
  2              THE COURT:    You may redirect.
  3              MR. GRIGGS:    Thank you, Your Honor.
  4                           REDIRECT EXAMINATION

  5 BY MR. GRIGGS:
  6 Q.   Dr. Love, earlier you testified that we did not have any
  7 specific release histories for these properties; is that
  8 correct?
  9 A.   I didn't incorporate any specific release histories into
10 my analysis.      There may be some out there.        I just didn't
11 incorporate them.
12 Q.    Is it correct to say that each of the four source area
13 properties did have a fairly significant release that reached
14 groundwater that moved downgradient?
15 A.    I think based on the extent and magnitude in soil and
16 groundwater at each site, there was releases at each site,
17 yes.
18 Q.    You also emphasized, again, on your cross-examination
19 answer, that your analysis was reflective of current
20 conditions; is that what you said?
21 A.    Current conditions being relatively modern times, right.
22 As we talked about, the data spans, you know, 10 years.              But
23 compared to the lifetime of what we're talking about
24 operations being, it's relatively current conditions.
25 Q.    Okay.    You mentioned, also, that -- or maybe it was put to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 67 of 162 PageID #:
                                  10132
                            LOVE - REDIRECT/GRIGGS                Vol. 5-882

  1 you -- that PCE was a marker.        And I guess I'm wondering if
  2 PCE is a marker for any other common types of operations that
  3 occurred both in the past and perhaps even today.
  4 A.   PCE is used by a number of different types of operations.
  5 It was a marker in this analysis in terms of being able to
  6 observe the impacts between the upgradient parties and those
  7 of the Von Duprin property.        Von Duprin property isn't unique
  8 in terms of their use of PCE.
  9 Q.   Okay.    And would one of those other potential users of PCE
10 include dry cleaners?
11 A.    Dry cleaners have historically used PCE quite a bit.
12 Q.    And in fact, you identify at least one dry cleaner in the
13 plume area on figure B1 of your report, page 7?
14 A.    That's right, and I believe I took that from a Geosyntec
15 report.
16 Q.    Okay.    Are you aware of any other reports or other expert
17 opinions that have been offered in this case that say there
18 could have been even more dry cleaners historically in this
19 area?
20 A.    I believe at some point there was discussion about there
21 being a dry cleaner on the Von Duprin property at some point.
22 Q.    Was that from the expert report of Rob Walker?
23 A.    I don't specifically recall, but I do remember reading
24 that where it came from.
25 Q.    Did you do anything to verify the accuracy of that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 68 of 162 PageID #:
                                  10133
                            LOVE - REDIRECT/GRIGGS                Vol. 5-883

  1 statement?
  2 A.   I didn't.    Again, I didn't use site-specific operations at
  3 any of those sites for my analysis.
  4 Q.   If there was a dry cleaner on the Von Duprin site at any
  5 time, is it possible that it would have had a release of PCE?
  6 A.   It's possible.
  7 Q.   And so just to be clear, you were asked on cross that you
  8 did not allocate to specific operations or specific persons
  9 the chlorinated solvent mass; you allocated it to a site
10 location?
11 A.    That's right, different source areas.
12 Q.    So when we say "Von Duprin got all the PCE," what you're
13 saying is the Von Duprin site was given responsibility for all
14 the PCE?
15 A.    That's right.
16 Q.    You're not saying there wasn't a dry cleaner that
17 contributed 90 percent of that?
18 A.    Not at all.
19 Q.    You just don't know?
20 A.    I'm saying that site is the source area for that
21 contribution.
22               MR. GRIGGS:    Okay.   Thank you.
23               THE COURT:    Any questions on those?
24               MR. BOWMAN:    No, Your Honor.
25               THE COURT:    Ms. Krahulik?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 69 of 162 PageID #:
                                  10134
                            LOVE - REDIRECT/GRIGGS                Vol. 5-884

  1              MS. KRAHULIK:    No, Your Honor.
  2              THE COURT:    All right.    Dr. Love, you may step down.
  3              (Witness excused.)
  4              THE COURT:    Do you want to rest with the --
  5              MR. GRIGGS:    I wanted to check on the exhibits, if I
  6 could, make sure we've entered everything that needs to be
  7 entered.     You said there may have been some we missed.
  8              THE COURT:    Okay.   We'll go ahead and take a break,
  9 and then we'll come back and let you rest.
10               And then you're going to make a motion under Rule
11 52(c)?
12               MR. BOWMAN:    Yes, ma'am.
13               THE COURT:    Okay.   All right.    Okay.   We'll take our
14 break and then we'll come back.          Fifteen minutes.
15               THE COURTROOM DEPUTY:      All rise.
16               (Recess at 10:09, until 10:29.)
17               THE COURT:    We're back on the record.
18               And, Mr. Griggs, you're standing.
19               MR. GRIGGS:    Yes, Your Honor.     Two items to clear up
20 on the documentary evidence.
21               One is Exhibit 106, the expert report of Sam
22 Williams.      Our notes show that we had moved that to be
23 admitted, but that's not consistent with the courtroom deputy,
24 so we would move to admit 106 now, just out of an abundance of
25 caution.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 70 of 162 PageID #:
                                  10135
                                                                  Vol. 5-885

  1              THE COURT:    All right.    Any objection to 106?
  2              MS. KRAHULIK:    No objection.
  3              THE COURT:    Moran?
  4              MR. BOWMAN:    No, no objection.
  5              THE COURT:    106 is admitted into evidence without
  6 objection.
  7                           (Plaintiff's Exhibit 106 was

  8                           received in evidence.)

  9              MR. GRIGGS:    Thank you, Your Honor.
10               The other item is a document that is linked in
11 Exhibit 1209, a joint exhibit, but it is not part of that
12 exhibit.      It was shown to at least two witnesses, and Your
13 Honor has reviewed it, as well.          It's an IDEM EPA memorandum
14 of agreement, and we would ask to provide a copy of that to be
15 added to Joint Exhibit 1209.
16               THE COURT:    Any objection?
17               MS. KRAHULIK:    No objection.
18               THE COURT:    Moran?
19               MR. BOWMAN:    No objection.
20               THE COURT:    The Court will allow the addition to
21 1209.
22                            (Plaintiff's Exhibit 1209 was

23                            received in evidence.)

24               MR. GRIGGS:    Thank you.
25               THE COURT:    All right.    Anything else on exhibits?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 71 of 162 PageID #:
                                  10136
                                                                  Vol. 5-886

  1              MR. GRIGGS:    Your Honor, Von Duprin rests.
  2              THE COURT:    Okay.   All right.
  3              Are there any motions?
  4              MR. BOWMAN:    Yes, Your Honor, on behalf of Moran
  5 Electric.
  6              THE COURT:    All right.    Come on up to the lectern so
  7 I can get a good look at you while you're talking.
  8              MR. BOWMAN:    I got a new suit.
  9              Your Honor, we want to make a motion under 52(c).
10 And to be clear, it's a request for partial findings.
11               Von Duprin brought claims against Moran under
12 CERCLA, 107.      It brought claims under the Indiana
13 Environmental Legal Action Statute.          Under either of those --
14 so that's -- and we're moving for partial findings under both
15 CERCLA and ELA on this point.
16               Your Honor has heard reference to the Zimmer Paper
17 Parcel, Moran.       The evidence is Moran owned the Zimmer Paper
18 Parcel for a period of time.         There is no evidence brought
19 forward by Von Duprin in their case in chief that Moran can be
20 held liable or responsible under either CERCLA or ELA for
21 releases tied to the Zimmer Paper Parcel.           And without that
22 evidence, they simply don't make the appropriate case under
23 either CERCLA or ELA.
24               The third point is -- and I'll elaborate very
25 quickly.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 72 of 162 PageID #:
                                  10137
                                                                  Vol. 5-887

  1              THE COURT:    Okay.
  2              MR. BOWMAN:    -- on each point, but I wanted the
  3 Court to get it in one motion.
  4              So a partial finding that Moran cannot be liable
  5 under either CERCLA or ELA for releases identified, tied to,
  6 confirmed on the Zimmer Paper Parcel.
  7              The other thing is that Von Duprin has included a
  8 $1.5 million payment from Von Duprin to Threaded Rod as part
  9 of a settlement of a state court case in Threaded Rod versus
10 Von Duprin and others.        And as a result -- at the end of their
11 case in chief, it's clear that, whether you use NCP and CERCLA
12 or whether you're looking at what damages are recoverable
13 under the Indiana Environmental Legal Action statute, they
14 cannot recover those.        So let me cover this quickly.
15               Under CERCLA -- well, first, Your Honor has already
16 determined that the contamination harm is divisible.             The
17 evidence is there's four distinct areas.           If Von Duprin shows
18 that Moran used to own Zimmer Paper Parcel, that's not enough.
19 Under CERCLA, they have to show that there was a disposal,
20 that there was a release of contaminants during the ownership.
21 Under CERCLA, Von Duprin also has to show that the release
22 caused -- caused it to incur response costs as a result of
23 that release by Moran.
24               Under the ELA, the ELA is more of a causation --
25 pardon me.      The ELA also has a causation element.         You have
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 73 of 162 PageID #:
                                  10138
                                                                  Vol. 5-888

  1 to -- Von Duprin needed to show that Moran caused or
  2 contributed to contamination that led to them incurring
  3 necessary costs, actually contamination that's a threat to
  4 human health or environment.        That's part of the elements.
  5              Courts -- I can cite the Court to Reed v. Reid,
  6 which is R-E-E-D, R-E-I-D, where Indiana courts have looked at
  7 what it means to cause or contribute.
  8              THE COURT:    What's that cite?
  9              MR. BOWMAN:    980 N.E.2d 277.
10               COURT REPORTER:     I'm sorry.    Can you repeat that?
11               MR. BOWMAN:    980 N.E.2d 277.
12               -- specific page cite to 289 where there's a
13 reference to how cause or contribute is defined, and courts
14 have looked at it using its normal terms, its common terms.
15               It is not sufficient to say, under either CERCLA or
16 under ELA, that a certain party owned it.           It's not sufficient
17 to say that they happened to be there.           It is not even
18 sufficient to say they used the constituent of concern.              You
19 must prove a release.        You must prove cause and contribute
20 under ELA.      You must prove release under CERCLA.
21               And they've not done that.       They did not do that in
22 their case in chief.        And the Court has heard other testimony
23 in ours.      But in their case in chief, there's no evidence that
24 Moran caused or contributed to contamination at the Zimmer
25 Parcel.     There's no evidence that Moran even used a degreaser
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 74 of 162 PageID #:
                                  10139
                                                                  Vol. 5-889

  1 on the Zimmer Parcel.       There is no evidence that Moran used
  2 chlorinated solvents on the Zimmer Paper Parcel.
  3              There is evidence that there was a UST there that
  4 leaked during removal.       There's evidence of Ertel -- from the
  5 IDEM people of Ertel's potential use of the Zimmer Paper
  6 Parcel.    There's ways to explain it.        But, regardless, if
  7 Moran is going to be brought into this court, Von Duprin
  8 needed to show that they caused the release.
  9              Our request is just as to the Zimmer Paper Parcel.
10 That's the finding that we look for.           It's very narrow, not
11 academic, Your Honor.        It's important for us to know that,
12 yes, indeed, Moran didn't cause that release, because we
13 don't -- we know we didn't.
14               On the settlement amount, it's got to be put in
15 context of Threaded Rod, current owner, then, of the Threaded
16 Rod property, former Von Duprin, sued Von Duprin to recover
17 costs that Threaded Rod had incurred for investigation and
18 cleanup.      That was the complaints before this Court, the
19 amended complaint.
20               The evidence is, Russ Eiler said we paid 1.5 lump
21 sum.     That's what they paid.      They paid 1.5 lump sum to the
22 current owner who sued them for prior operations.
23               Under the ELA, for Moran to have to pay some of
24 that, or pay any of it, they would have to show that, as part
25 of the 1.5 they paid, those were costs incurred because of
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 75 of 162 PageID #:
                                  10140
                                                                  Vol. 5-890

  1 Moran, because of releases of Moran, and there's no evidence
  2 of that.
  3              Under CERCLA, it's even more of a challenge for
  4 them.    We all listened.     And it is just a statute that Your
  5 Honor has to deal with.       This NCP is a tough animal.       It is
  6 what it is, right.      They have to show NCP compliance.         I --
  7 there is no NCP compliance for the 1.5 million.            And I believe
  8 the evidence is they said that Williams didn't look at it.               He
  9 didn't look at the invoices related to that.           He didn't look
10 at the August Mack invoices.         I don't believe that that 1.5
11 has any evidence that it complies with the NCP.
12               So I think now is the time to be able to say:          Look,
13 the 1.5 was a payment from Von Duprin to Threaded Rod,
14 Threaded Rod suing for costs they incurred relating to that
15 property.      And for better or for worse, what Von Duprin did in
16 this case is tell the Court it's 1.5 lump sum, and that's all
17 they can say.
18               THE COURT:    Okay.   Thank you.
19               MR. BOWMAN:    Thank you.
20               THE COURT:    All right.    Mr. Griggs, you're going to
21 come up and respond?
22               MR. GRIGGS:    Yes, Your Honor.
23               I'll divide my response into the same two parts,
24 environmental legal action and then CERCLA.
25               The case referred to by Mr. Bowman, Reed versus
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 76 of 162 PageID #:
                                  10141
                                                                  Vol. 5-891

  1 Reid, the party that was found to not have caused or
  2 contributed was a landlord.        The party that was found to be
  3 responsible and could be held responsible under the ELA was
  4 the operator of the site.        The evidence in this case that is
  5 undisputed is that Moran did operate at the Zimmer Paper
  6 property.     So could they be among the parties who caused or
  7 contributed?     Yes.   Reed v. Reid simply does not absolve them

  8 of responsibility.
  9              There is no requirement under the EPA -- or sorry --
10 under the ELA as to when a release occurred.            It does have to
11 pose a risk to human health or the environment.             We believe
12 the witnesses have demonstrated that, with the downgradient
13 vapor intrusion effects, that real people are facing real
14 injuries as a result of this commingled plume and the
15 contaminants that were contributed to it.
16               Also, Mr. Bowman seems to ignore that there are 226
17 joint exhibits in this case, some of which indicate that Moran
18 did, in fact, contribute chlorinated solvents to the Zimmer
19 Paper Property.       So if you look simply at the oral testimony
20 in the case, he might have a point.          But on the record
21 testimony in the case that has been admitted, it's clear that
22 Moran could be found responsible by this Court if it believes
23 that evidence --
24               THE COURT:    Which exhibits would that be?
25               MR. GRIGGS:    I have -- this is -- I heard about this
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 77 of 162 PageID #:
                                  10142
                                                                  Vol. 5-892

  1 motion 15 minutes ago, Judge.        I have not had a chance to go
  2 through and identify the specific exhibits.           I can do that,
  3 given some time, and I suspect that those same exhibits will
  4 come up during the rest of this case, and you'll have an
  5 opportunity to see those.
  6              With respect to CERCLA, essentially the argument
  7 being made is that Moran is a former owner or operator, which
  8 is a 107(a)(2) CERCLA party, and a 107(a)(2) CERCLA party has
  9 to have been the owner/operator at the time of the release.
10 So the same problem exists.         While there may not have been an
11 eyewitness testimony of a release during the Moran period of
12 operation and ownership of Zimmer, it is clearly a disputed
13 fact.     We believe the admitted record evidence goes to it.
14 And this is a case in which the Court is being asked to
15 allocate responsibility based on equitable factors.
16               And to the extent that the Court finds or believes
17 that Moran's involvement was small, even zero, the Court will
18 have that opportunity to assign that share to Moran.             There's
19 no reason to cut short that process at this stage simply
20 because Moran says that no one saw me do it.            They did have a
21 vapor degreaser in that site.         That's in the testimony that's
22 been heard so far.
23               CERCLA deals in not only releases but, if you look
24 at 107(a), which is the section we're proceeding under, it is
25 a release or a threat of release.          So Mr. Bowman misquoted the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 78 of 162 PageID #:
                                  10143
                                                                  Vol. 5-893

  1 statute in saying there must be a release.           That's not true.
  2 There must merely be a nexus, a nexus between the responsible
  3 person and the contaminant.        In this case, it is undisputed
  4 that Moran did use chlorinated solvents at the Zimmer Paper
  5 property.     That's what a vapor degreaser is about.
  6              Whether they used the underground storage tank,
  7 nobody seems to know who used that underground storage tank.
  8 Nobody did it.      As we pointed out in our pretrial brief, with
  9 pollution, nobody wants to be responsible for it.            Nobody saw
10 it.     Nobody wants it.
11               Finally, with respect to the $1.5 million payment,
12 Mr. Bowman is correct in saying that that reflected
13 investigation costs and remedial investigation costs that the
14 testimony shows would have needed to be incurred by somebody
15 and that paying the settlement avoided repeating those costs
16 or duplicating those costs, costs that would have been
17 available to be allocated.
18               When this Court determined, in its pretrial ruling
19 on pending motions -- I'm sorry.          It was on summary
20 judgment -- that this case was divisible, that eliminated
21 joint and several liability and made this case a contribution
22 case, a case in which the Court must now allocate
23 responsibility based on equitable factors.
24               One of those equitable factors would be things like:
25 Unjust enrichment, subrogation rights.           Is it fair that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 79 of 162 PageID #:
                                  10144
                                                                  Vol. 5-894

  1 $1.5 million of investigation that was done by a third party
  2 should be borne solely by Von Duprin or should it be a shared
  3 cost among all those responsible for creating the commingled
  4 plume?
  5              We certainly believe that, under CERCLA, 113(g),
  6 that having a contribution action to be settled by this Court
  7 between the parties, had we paid that $1.5 million to the EPA
  8 for cleanup work they had done, it does not have to comply
  9 with the NCP.     We are entitled to seek recovery from other
10 responsible parties for any amount in excess of our share of
11 those costs, and we believe that 100 percent is not an
12 equitable share of the $1.5 million that was paid to Threaded
13 Rod for investigative work and remedial investigation that
14 they had performed.
15               Thank you.
16               THE COURT:    Okay.   Anything further?
17               MR. BOWMAN:    Do you want to?
18               And she gets a shot at it, too.
19               MS. KRAHULIK:    Yes.   Sorry.
20               As to the $1.5 million number -- I'm going to go in
21 reverse order here -- the 1.5 million number, we would join in
22 Moran's motion on that point, specifically for the reason that
23 those costs have not been sufficiently put in evidence, and
24 NCP compliance with respect to those costs cannot be found
25 because they are not sufficiently before the Court, and
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 80 of 162 PageID #:
                                  10145
                                                                  Vol. 5-895

  1 there's been no testimony that sufficiently qualifies them
  2 under the National Contingency Plan for CERCLA recovery.
  3              As to the issue of Moran's liability for operations
  4 at the Zimmer Paper property, that issue, you know, bears on
  5 Major Tool and Machine's crossclaim against Moran as the only
  6 party in this lawsuit who actually operated on the Zimmer
  7 Paper property for a number of years.
  8              And while Mr. Griggs said there was a vapor
  9 degreaser used at that property, I believe the testimony
10 actually was that there were multiple parts washers used at
11 that property, and that testimony came from Mr. Sharkey.              And
12 while he said that he didn't believe it was TCE used in those
13 parts washers, he couldn't identify what was used in them, and
14 he certainly didn't say it wasn't PCE or some other
15 chlorinated solvent.        And I think the Court can then give his
16 testimony whatever weight as to identifying a particular
17 chemical solvent used in a parts washer that it deems
18 appropriate.      So I do believe there is record evidence.          And
19 in fact -- I forgot to bring the exhibit up, if you'll let me
20 grab it.
21               THE COURT:    Sure.
22               MS. KRAHULIK:    When Mr. Griggs talks about showing
23 the necessary nexus between the operator and operations using
24 the constituents of concern, we have a joint exhibit, 1109,
25 which is a report by Allied Environmental Services specific to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 81 of 162 PageID #:
                                  10146
                                                                  Vol. 5-896

  1 the Moran properties south of the Zimmer Paper property.              But
  2 in that particular report, Allied acknowledges that parts
  3 washers, not vapor degreasers but parts washers, used by Moran
  4 on the southern parcels utilized chlorinated solvents and
  5 specifically trichloroethylene, TCE, so I believe that nexus
  6 has been demonstrated here.         And for that reason, the CERCLA
  7 crossclaim that Major Tool and Machine has asserted against
  8 Moran as to the Zimmer Paper property should proceed.
  9              THE COURT:    Okay.
10               MS. KRAHULIK:    Thank you.
11               THE COURT:    Anyone else?
12               MR. BOWMAN:    Can I respond?
13               THE COURT:    I think, yes, you're next.       You may
14 respond.
15               1109 is a joint exhibit?
16               MR. BOWMAN:    This is a motion at the close of
17 plaintiff's, Von Duprin's, case.          In order to benefit the
18 Court, we took witnesses out of order.
19               THE COURT:    Agree.
20               MR. BOWMAN:    I went through quickly.
21               Russ Eiler was called.      Russ Eiler was the Von
22 Duprin health and safety guy.         He doesn't know anything about
23 Moran.     Ferree did not express opinions regarding releases on
24 Moran.     Another, Fimmen.     McInnes expressed no opinions
25 regarding causation of the releases on the Zimmer Paper
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 82 of 162 PageID #:
                                  10147
                                                                  Vol. 5-897

  1 Parcel.    McInnes did not express those opinions.
  2              So this is at the close of Von Duprin's case.          That
  3 was part of our concern over bringing Sharkey.           I mean, this
  4 is at the close of their case.        If you look at what's before
  5 the Court, there is no evidence that Moran released at Zimmer
  6 Paper Parcel, and that includes the Allied report.            The Allied
  7 report does not address operations of Moran at any place other
  8 than the former Moran.
  9              I'll go ahead and then address -- there is no
10 evidence that Moran used a vapor degreaser, and Your Honor has
11 heard about that today.        That's an important comment.        A vapor
12 degreaser has a term of art which is the Detrex degreaser.
13 Sharkey said he remembered parts washers and it smelled like
14 mineral spirits.       That was his testimony, so I --
15               And finally, if Von Duprin is going to cite reports,
16 joint exhibits, that they think show that Moran released at
17 Zimmer Paper Parcel, these last few days was that time.              They
18 needed to do that.       Your Honor had the right question.         What's
19 your exhibit?      We need that now.      Didn't have it.
20               Here's the other concern of that.        We started this
21 trial knowing that there are the dozens of environmental
22 reports that Love and others have looked at.            Buried within
23 those could be someone who opines -- and I'm just telling you
24 a possibility.       We agreed, then.     Bring them forward.      Lawyers
25 can decide whether there's a buried expert opinion in there.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 83 of 162 PageID #:
                                  10148
                                                                  Vol. 5-898

  1 I don't agree that, simply because it's a joint exhibit, that
  2 they've made their case.       One, I don't think that's how it
  3 works.    I think they've got to demonstrate it to the Court.
  4 And, two, I would object if someone says, "Oh, I found this
  5 report where somebody opines that Von Duprin did this," or,
  6 you know, "Moran did that."        That's -- that's not how we do
  7 this.    We bring the evidence to the Court, we get to weigh it,
  8 and we get to decide it.       And what we've got here is no
  9 evidence that Moran used chlorinated solvents north of that
10 corridor on the former Zimmer Paper Parcel.
11               THE COURT:    Okay.   Mr. Griggs?
12               MR. GRIGGS:    Your Honor, one point.
13               We've heard from two experts, Mr. McInnes and this
14 morning Dr. Love, who have testified consistently with one
15 another that there was a release of chlorinated solvents at
16 the Zimmer Paper property.          That's undisputed.    Everybody here
17 says, "It wasn't me," but it was somebody, Your Honor.              And
18 the evidence that we do have, while it isn't of eyewitness
19 quality, we have a party who just, across the alley, admits to
20 using chlorinated solvents, denies that they ever crossed the
21 alley.     And so that is going to be a credibility question for
22 you, Judge, whether that is believed, or whether it's more
23 likely that, because the contamination is, in fact, present at
24 Zimmer Paper, that somebody associated with that site took
25 chlorinated solvents and used them in that building on the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 84 of 162 PageID #:
                                  10149
                                                                  Vol. 5-899

  1 north side of the alley.
  2              Obviously, there can be conflicting testimony, and
  3 Your Honor can decide based on that who it was that might have
  4 done that, but there's been no one identified in the case to
  5 this point who had a closer connection to the site than Moran.
  6 Moran operated there.       Moran owned the property.       It was later
  7 owned by Major.
  8              All I can say for sure is that Von Duprin didn't put
  9 anything there, and both of the experts, I think, have agreed
10 on that point, as well.
11               Thank you.
12               MR. BOWMAN:    Thank you.
13               THE COURT:    Okay.   All right, lawyers.
14               Well, Rule 52(c) does require the Court to provide
15 findings of fact and conclusions of law.           And we're in the
16 middle of a trial, and we've got these out-of-town witnesses,
17 which I know is frustrating to the lawyers.            But the Court
18 is -- I promise you, I'm going to divide up the evidence that
19 we've heard in your case in chief, in each parties'
20 presentation.
21               So what I'm going to do is reserve ruling on the
22 52(c) motions.       And, hopefully, after the lunch break, I'll be
23 able to come back in and give you a ruling on that, okay.
24               But we're going to go ahead and let you begin your
25 direct case if you're next, Moran.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 85 of 162 PageID #:
                                  10150
                                                                  Vol. 5-900

  1              MR. BOWMAN:    Yes.   We'll call -- we call Dr. Love
  2 back to the stand.
  3              THE COURT:    Okay.   Dr. Love.
  4              (Off the record.)
  5              THE COURT:    All right, Dr. Love, you were sworn this
  6 morning.     You're still under oath.      If you would, have a seat.
  7              THE WITNESS:    Thank you.
  8           ADAM HAMILTON LOVE, DEFENDANT'S WITNESS, SWORN

  9                            DIRECT EXAMINATION

10 BY MR. BOWMAN:
11 Q.    Dr. Love, you covered your background, but I want to cover
12 more of that.      But let's at least start from a foundation and
13 go forward.      What's your educational background?
14 A.    So I have an undergraduate in geology degree from Franklin
15 & Marshall College.        I have a master's degree in material
16 science and mineral engineering from the University of
17 California at Berkeley.        And I have a Ph.D. from the
18 University of California at Berkeley in environmental
19 engineering.
20 Q.    Okay.    And what did you do after getting that Ph.D.?
21 A.    After that, I did a postdoctorate research and then became
22 a principal investigator at Lawrence Livermore National
23 Laboratory in their Forensic Science Center.
24 Q.    And explain to us -- you talked a little bit in the direct
25 and cross in Von Duprin -- the concept of forensics within
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 86 of 162 PageID #:
                                  10151
                            LOVE - DIRECT/BOWMAN                  Vol. 5-901

  1 environmental science.
  2 A.   So forensic science uses multiple lines of evidence
  3 typically to reconstruct what the source, timing, and
  4 contribution is from various parties.
  5 Q.   Okay.    And then what did you do after Lawrence Livermore
  6 National Laboratory?
  7 A.   I became a principal at an environmental consulting firm
  8 called Johnson Wright.
  9 Q.   Okay.    And then --
10 A.    And then from there, I went and came to Roux Associates,
11 and I've been at Roux Associates now six years.
12 Q.    And you covered this before, but let's state it clearly.
13 Within your field, do you actually present at consortiums or
14 educational forums regarding allocation of indivisibility of
15 hazardous substances?
16 A.    Yes.    I have a number of different presentations on
17 technical tools for divisibility and the implications for
18 allocation.
19 Q.    Okay.    And you have, indeed, opined similar, as you've
20 done here, you've provided other opinions regarding
21 allocability or divisibility of harm both within courts and
22 outside of court?
23 A.    Yeah.    I would say, probably, I do six to eight cases a
24 year where my expert opinion is doing an allocation.
25 Q.    And specifically, then, does your education and experience
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 87 of 162 PageID #:
                                  10152
                            LOVE - DIRECT/BOWMAN                  Vol. 5-902

  1 provide the background you believe necessary to perform the
  2 assignment that you had for Moran?
  3 A.   I mean, the field of forensics specifically suits the
  4 questions that are related to allocation.
  5              MR. BOWMAN:    Okay.   Well, Your Honor, we've not done
  6 this before, but I believe we need to do this, that I want to
  7 make sure that the Court recognizes Dr. Adam Love as an expert
  8 in the areas of environmental science, environmental
  9 forensics, environmental engineering.
10               THE COURT:    And the Court will recognize the doctor
11 as an expert.
12               MR. BOWMAN:    Thank you.
13 BY MR. BOWMAN:
14 Q.    What precisely was the assignment, as you understood it,
15 when you started this project?
16 A.    So the initial assignment was to take a look at the
17 technical documents, the site investigation documents, what
18 operational information was available, remediation documents,
19 and first just to assess was there divisibility of this
20 contamination, and, then, if so, could I quantify what the
21 allocation would be.
22 Q.    Okay.    And clearly stated, because I don't think they have
23 been, what were the opinions that resulted from your
24 assignment?
25 A.    So my report has three opinions.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 88 of 162 PageID #:
                                  10153
                            LOVE - DIRECT/BOWMAN                  Vol. 5-903

  1              The first one has to do with whether or not there
  2 was a continuous clay layer that prevented the releases from
  3 the Von Duprin property from getting into other deeper
  4 groundwater, and my opinion was that there was not a
  5 continuous clay layer that provided that type of boundary.
  6              But the two other opinions, the first one is on
  7 divisibility and the fact that the contamination at this site
  8 is divisible; and then the other one is the allocation, and
  9 that allocation concludes that the division between the
10 various parties is 54 percent for the Von Duprin site,
11 29 percent from the Zimmer sites, 14 percent for the Ertel
12 site, and 3 percent for the Moran site.
13 Q.    And is that figure -- you're looking at figure 3.6 of your
14 report?
15 A.    I was, just to make sure I got the numbers right.
16 Q.    Right.
17 A.    Yeah.
18 Q.    And I've asked --
19               MR. BOWMAN:    Thank you, Ms. Hill.
20 BY MR. BOWMAN:
21 Q.    She's brought up Exhibit 622.        Is that figure 3.6?
22 A.    Yes.
23               And as we talked about earlier, the Von Duprin
24 number really is the minimum because of all the various ways
25 and the analysis that we skewed the analysis in favor of the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 89 of 162 PageID #:
                                  10154
                            LOVE - DIRECT/BOWMAN                  Vol. 5-904

  1 Von Duprin site.
  2              MR. BOWMAN:    And, Your Honor, so that it's clear,
  3 this is our witness, and what we've been able to do, we
  4 will -- I have his demonstrative exhibits that you'll be able
  5 to see.    It's the same figures that are in the report.
  6              THE COURT:    All right.    Thank you.
  7              MR. BOWMAN:    And we'll go quickly, but I thought it
  8 might be helpful to hear from the expert as he walks through
  9 the report.
10 BY MR. BOWMAN:
11 Q.    So we covered this, but I want to be clear.           What data did
12 you rely upon in order to reach these conclusions?
13 A.    So we created a database of all the site investigation
14 data and native soil data that had been collected from all the
15 different sites, as well as the groundwater data.
16 Q.    Okay.    And did you precisely exclude any data?
17 A.    We started with all of the data in the database; right?
18 Depending on what type of analysis you do, you would use
19 subsets to do -- to perform specific analyses, but we started
20 with the entire database and didn't exclude any data that was
21 necessarily inconvenient to us.          We just incorporated it in
22 and included it in our analysis.
23 Q.    Yeah.    And I'll cover it here because we covered it in
24 cross.
25               You knew the soil data gathered at the site from
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 90 of 162 PageID #:
                                  10155
                            LOVE - DIRECT/BOWMAN                  Vol. 5-905

  1 what you defined by looking at data as the smear zone?
  2 A.   Right.    That sort of 10 to 15 feet where the groundwater
  3 fluctuates over time is considered a smear zone where the
  4 groundwater can move contaminants in and out of that zone.
  5 Q.   So a better way of stating it is, that data was part of a
  6 data set; and in analyzing areas of impact and wanting to look
  7 at the vadose zone, you excluded the smear zone, not because
  8 you disliked it, but because it wasn't appropriate under the
  9 science; correct?
10 A.    It was unreliable scientifically for what we were trying
11 to do with the soil data.
12 Q.    Now, as far as Von Duprin, the upgradient and
13 downgradient, that was -- was that an area -- you created a
14 general division there; correct?
15 A.    Yes.
16               Overall, right.     I mean, the site is pretty ideal,
17 like I said, in terms of there being four distinct release
18 points.      But the groundwater at the Von Duprin site provided a
19 unique step function increase, right.           I mean, the water
20 coming in had a certain composition and certain concentration.
21 And then you get to the Von Duprin site and it spikes up,
22 right, and it changes chemistry, and that for an environmental
23 professional like me is a giant red flag that there's a new
24 contribution of contamination into the groundwater, and so
25 that became the delineation mark for upgradient versus
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 91 of 162 PageID #:
                                  10156
                            LOVE - DIRECT/BOWMAN                  Vol. 5-906

  1 downgradient.
  2 Q.   Let's look at Exhibit 603.       I think this might be -- does
  3 that speak, to some degree, on that issue?
  4 A.   So that shows that the boundaries, but there's a stacked
  5 bar, which is figure 3.4.
  6 Q.   I think that's Exhibit 620.
  7 A.   So if we look at this, this is -- I'm sorry.
  8 Q.   Don't jump ahead.
  9 A.   Yes.
10 Q.    Is this the bar chart you wanted?
11 A.    Yes.
12 Q.    Okay.    Explain that to the Court.
13 A.    If you look at this, the concentration -- so the orange is
14 TCE, the gray is DCE, and the blue is PCE.            And so if you look
15 at the concentrations of the solvents that are coming from the
16 upgradient area, just upgradient of Von Duprin, you can see
17 there's about 1400 TCE and about 760 DCE.
18               If you move right past this point of delineation,
19 and all of a sudden there's a ton of PCE that shows up,
20 there's a lot more TCE shows up and a lot more DCE shows up.
21 I mean, that's, I think, for everybody, sort of a pretty
22 obvious step function change in terms of the groundwater
23 concentration.       And so from that, we then wanted to figure out
24 how much of that came from upgradient and how much of that
25 step function came from Von Duprin itself.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 92 of 162 PageID #:
                                  10157
                            LOVE - DIRECT/BOWMAN                  Vol. 5-907

  1              And so if we go to the bottom figure of 3.4, we
  2 started by looking at what was the --
  3 Q.   What's the top figure, 619?
  4 A.   Yes.    Thank you.
  5              We started by looking at what was the ratio of PCE
  6 to TCE in soil at Von Duprin, because that would be the same
  7 release that would have entered the groundwater.            And so we
  8 took that ratio, and the 4,916 that's PCE, right, is
  9 attributable to the Von Duprin property.
10               If we then use the ratio that we saw in the soil and
11 give that same proportion to Von Duprin, you get about 1,821
12 parts of TCE that would appear to have come from Von Duprin if
13 it stayed in the same proportions.          And what's left is 1,276
14 parts of TCE that is not from Von Duprin.
15               Well, if you take that 1,276 and compare it to what
16 was coming in the upgradient water, just upgradient at that
17 point, they're virtually the identical number, so that really
18 was confirming that this way of dividing up the Von Duprin
19 share was not only valid scientifically, but it's consistent
20 with a totally different approach to get to the same number.
21 Q.    Okay.    And to help the Court, as you were doing that,
22 going back before the further division, you actually found
23 13 percent was upgradient and 87 percent was downgradient?
24 A.    Yes, just by totaling up the totals, the total amount of
25 CVOCs upgradient and downgradient.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 93 of 162 PageID #:
                                  10158
                            LOVE - DIRECT/BOWMAN                  Vol. 5-908

  1 Q.   Let's look at 651, which is figure 3.5.          Explain to us how
  2 that was used and what you're trying to represent as far as
  3 the geographic --
  4 A.   So, while the Von Duprin contribution was clearly
  5 divisible based on the groundwater concentrations, this area
  6 of the upgradient, you know, release points, the groundwater
  7 was commingled, and so we couldn't use the groundwater itself
  8 to create the divisibility.        So what we did instead is we used
  9 the level of solvent impacts in the soil above each of the
10 sites to essentially be a surrogate for groundwater impacts.
11               And so this graph essentially shows the soil data
12 and what those impacts were and which areas, you know, were
13 contributing from each source.         And so the lines to really
14 take note of is the black rectangle that's labeled Zimmer
15 Paper.     That's the boundaries that we sort of summed up the
16 contamination from in the soil to attribute to Zimmer Paper.
17 Then there's a dotted line that comes off the bottom of that.
18 And north of that, all of that soil was attributed to Ertel.
19 And south of that but east of the road was attributable to
20 Moran.     And so when we summed up each of the -- you know, the
21 total CVOC mass in those soils, we used that to generate a
22 relative contribution in that area of groundwater that was
23 mixed.
24 Q.    And in that line -- and I can officially, if I do it
25 right -- that line right there, the property boundary on the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 94 of 162 PageID #:
                                  10159
                            LOVE - DIRECT/BOWMAN                  Vol. 5-909

  1 south, there is actually shading that goes further over in
  2 here, you understand that that's been called the 19th Street
  3 or 19th Street corridor, the 20th Street corridor?            It's a
  4 corridor, whether it's 19th or 20th.
  5 A.   Yes, south of the dotted line.
  6 Q.   The line you used isn't a legal -- you didn't go to the --
  7 legal definition; but, as I understand it, you actually ran
  8 that line as far north as you thought was reasonable to be as
  9 conservative as possible in order to have a data point that if
10 someone -- well, explain.         Explain that line and how you drew
11 it.
12 A.    That line was essentially the southernmost building wall
13 of the Ertel structure when it was there, and so everything
14 south of that we assigned to Moran.
15               THE COURT:    Are you referring to the dotted line?
16               THE WITNESS:    Yes, the dotted line.
17               THE COURT:    Okay.
18 BY MR. BOWMAN:
19 Q.    But south of the dotted line, you know, from looking at
20 some of the environmental reports, that was actually an alley?
21 There was an alley between Ertel and Moran?
22 A.    That's right.
23 Q.    Sampling within the alley you've allocated to Moran?
24 A.    That's right.
25 Q.    Even though it's the alley?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 95 of 162 PageID #:
                                  10160
                            LOVE - DIRECT/BOWMAN                  Vol. 5-910

  1 A.   That's right.
  2 Q.   I think we've talked about chemical uniqueness, but I
  3 think Exhibit 614 speaks to an issue of -- oops, I need to
  4 clear this.     And I think this was up before.        But is this
  5 where you -- helps us understand how you looked at the unique
  6 chemical patterns?
  7 A.   Right.    This is essentially the data that supports that
  8 stacked bar chart that I showed earlier with the various
  9 amounts of PCE, TCE, DCE, upgradient versus downgradient.
10 Q.    So let's cover further about how you calculated -- we were
11 a little bit -- but how you calculated the allocation of
12 chlorinated solvent upgradient, recognizing downgradient was
13 based on groundwater and PCE.
14               Upgradient, that allocation was done how?
15 A.    The upgradient was -- other than the two tiny pieces that
16 were calculated because they were divisible, the small
17 groundwater contamination in the north Ertel site and the
18 very, very, very small amount that was in the Zimmer building,
19 the other three were apportioned based on the relative amounts
20 of CVOC in the soil at each of those sites.
21 Q.    Okay.    So let's look at Exhibit 620, and I think this has
22 been up before.       But you used figure 3.4.
23               Is that -- I don't know if that's 3.4.         620.   It is
24 620.
25               There was -- you did look at the shallow soil data
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 96 of 162 PageID #:
                                  10161
                            LOVE - DIRECT/BOWMAN                  Vol. 5-911

  1 from each site; correct?
  2 A.   Right.    The shallow soil data was essentially what was
  3 totaled to have the relative allocation in the upgradient
  4 area.
  5 Q.   And what figure should we refer to for that?
  6 A.   That would be table 2, which is --
  7 Q.   Okay.    We had table 2 before.      Okay.   That's what we
  8 looked at before.
  9 A.   And so you can see, in the upgradient area, 13 percent --
10 if you sort of walk through it, 13 percent of the total CVOC
11 mass is in the upgradient area, and that gets divided among
12 each of these different source areas based on the percentage
13 that's just to the right of that.          Those numbers come from the
14 relative amounts of contamination in the upgradient area.
15               If we look at the downgradient area, right, we said
16 87 percent of the total CVOC mass is in the downgradient area.
17 The initial -- the amount that we apportion for Von Duprin,
18 the 63 percent, is there.         The remaining 37 percent is
19 essentially allocated in the same proportions as what was used
20 in the upgradient area, assuming everybody contributed -- that
21 contributed to the upgradient area contributed the same amount
22 to the downgradient area, relatively.
23 Q.    So you have an allocation of Von Duprin property based
24 upon groundwater; the upgradient is then allocated based upon
25 this shallow soil data?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 97 of 162 PageID #:
                                  10162
                            LOVE - DIRECT/BOWMAN                  Vol. 5-912

  1 A.   That's right.
  2 Q.   And you're taking percentages of that percentage?
  3 A.   That's right.
  4 Q.   Which then leads us to, I think it's, 622.          You do that
  5 math, and then you end up with then Von Duprin at 54 percent;
  6 correct?
  7 A.   That's right.     If you just total up each source area's
  8 contribution from the upgradient and downgradient area, you
  9 get those total percentages that are shown in that bar plot.
10               THE COURT:    Mr. Bowman, you've exhibited 615, 614,
11 621, 620, 619, 603, and 622.
12               Do you want to offer them into evidence?
13               MR. BOWMAN:    I would like them in evidence.        I
14 believe his report's in, but they're just easier to see.
15               THE COURT:    Right.
16               Any objection?
17               MR. GRIGGS:    Other than the fact that they are
18 already part of Exhibit 101 that the Court has admitted.
19               THE COURT:    Okay.    Well, if there's an appeal, the
20 Court of Appeals is not going to know what you're talking
21 about, unless we have these exhibit numbers in there --
22               MR. BOWMAN:    Yeah.   Thank you.    Thank you, Your
23 Honor.
24               MS. KRAHULIK:    No objection.
25               THE COURT:    -- for the record.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 98 of 162 PageID #:
                                  10163
                            LOVE - DIRECT/BOWMAN                  Vol. 5-913

  1              Oh, you're with him.     Okay.
  2              So the Court is going to admit into evidence 603,
  3 614, 615, 620, 621, and 622.
  4              (Defendant's Exhibits 603, 614, 615, 619, 620, 621,

  5 622 were received in evidence.)
  6              THE COURT:    Did I get them all?
  7              (Off the record.)
  8              THE COURT:    And 619.   All right.
  9              You may continue.
10               MR. BOWMAN:    Thank you.
11 BY MR. BOWMAN:
12 Q.    And, again, all of this, as you come to these conclusions,
13 that's giving no allocation to the Von Duprin Parcel property
14 for any upgradient at all; correct?
15 A.    That's right.     They wouldn't -- the contamination wouldn't
16 have flown sort of backwards in the groundwater so they got a
17 zero in the upgradient area.
18 Q.    Is the scientific method you've described consistent with
19 what you've lectured on in public forums?
20 A.    Yes.    I mean, this is exactly what I discuss in terms of
21 going through different methodologies and, you know, what you
22 have to go through in order to find the most reliable one.
23 Q.    Is the scientific method you've described here consistent
24 with methods you've used at other sites with comparable
25 assignments?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 99 of 162 PageID #:
                                  10164
                            LOVE - DIRECT/BOWMAN                  Vol. 5-914

  1 A.   It is.
  2 Q.   Is scientific method you've described consistent with the
  3 standard of practice in your field of expertise?
  4 A.   Yes.
  5 Q.   And do you believe the conclusions are reliable to a
  6 reasonable degree of scientific certainty?
  7 A.   I do.
  8 Q.   We talked about depth of groundwater -- or soil samples
  9 and vadose zone versus smear zone.
10               If you used a different interval -- well, first,
11 that only -- that doesn't impact an allocation of Von Duprin
12 because that's based on a PCE, TCE analysis and groundwater?
13 A.    That's right.
14               The only thing the soil data in the upgradient area
15 would impact is the relative contribution between Zimmer,
16 Ertel, and Moran.       Von Duprin's contribution is unaffected by
17 what soil data was chosen in the upgradient area.
18 Q.    Right.
19               And I think what's important for the Court to know
20 is, the soil data from the vadose zone was a result of other
21 consultants going out and taking soil samples before
22 excavation 10 feet and above; correct?
23 A.    That's right.     I mean, it's part of a normal site
24 investigation that had as the objective to understand the
25 extent and magnitude of contamination because they wanted to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 100 of 162 PageID #:
                                   10165
                            LOVE - DIRECT/BOWMAN                  Vol. 5-915

  1 know where they needed to clean up.
  2 Q.    And then the normal practice, then, is, when they
  3 excavated, you take -- is normal practice to take sidewall
  4 samples to see how you're doing, as far as -- the consultant,
  5 as they're digging up the contamination; correct?
  6 A.    That's right.     You want to know whether you got it all.
  7 And to do that, you would sample the edges of where you've dug
  8 out to see if there's any remaining contamination there that
  9 you would still want to remove.
 10 Q.    So the sidewall samples used in your analysis were vadose
 11 zone and were actually the native soils?           I just want to be
 12 clear.     It was not sampling of clean soil; it was sidewall
 13 samples of the native soils?
 14 A.    That's right.     All of the data in the database is native
 15 soil that was used to determine the extent and magnitude of
 16 contamination at the site.
 17 Q.    When challenged, you looked at the database to see whether
 18 there was the potential for having grabbed a sample that was
 19 in clean soil, and what did you find out?
 20 A.    Right.   In terms of looking at the order at which samples
 21 were taken and the location of them, there was only one sample
 22 that I could find in the entire database of hundreds of soil
 23 samples where, at a later time, it may have been right on the
 24 edge of where there was some clean fill put in.            But, like I
 25 said, that was one out of hundreds of soil samples, so that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 101 of 162 PageID #:
                                   10166
                            LOVE - DIRECT/BOWMAN                  Vol. 5-916

  1 sort of fit that description.
  2 Q.    And the final area -- we covered it, but I want to be
  3 clear -- explain to us and the Court how you could do this
  4 analysis and know that the soil remediation, the soil removals
  5 did not impact or would not cause you to be unable to do this
  6 analysis?
  7 A.    Yeah.   I mean, if we were talking about a site with much,
  8 much lower levels of groundwater contamination, the removal of
  9 the soil above it, I think, might play a more significant
 10 role.     But we're talking about releases from sites where a
 11 separate phase solvent has gone all the way through down into
 12 the groundwater, and so the soil is not the primary source of
 13 contamination in the groundwater at that point.            It's the
 14 actual solvents that is, you know, within the groundwater
 15 itself that slowly dissolves over time into the groundwater.
 16 So while obviously removing the contamination from the soil is
 17 a good thing, there's not a reason why you would expect that
 18 to make a dramatic difference in the concentrations of the
 19 groundwater until somebody goes and actually cleans the
 20 solvents that are within the groundwater itself.
 21 Q.    And, then, finally, then, trying to understand that, for
 22 those of us who don't practice it every day, even though that
 23 contamination that's contributing is in groundwater, the
 24 science is very reliable for scientists like you to take
 25 vadose zone soil samples and use those for an indication and
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 102 of 162 PageID #:
                                   10167
                               LOVE - CROSS/GRIGGS                Vol. 5-917

  1 calculate a mass of release; correct?
  2 A.    That's a pretty standard environmental forensic technique,
  3 yes.
  4              MR. BOWMAN:    Thank you.
  5              THE COURT:    Mr. Griggs is going to go next?        You may
  6 cross-examine, Mr. Griggs.
  7                             CROSS-EXAMINATION

  8 BY MR. GRIGGS:
  9 Q.    Dr. Love, I just have a few questions.         We spent a bit of
 10 time already talking.
 11              Your analysis, as reflected in table 1 and table 2
 12 of your expert report, Exhibit 101, does that assume that
 13 there is a single commingled plume for groundwater impacts?
 14 A.    Well, I mean, there are some small portions that are not
 15 commingled, right, like the Ertel north portion and this
 16 little tiny bit that's in the Moran building.            Those appear to
 17 be separate and distinct.        But the other upgradient -- the
 18 other upgradient source areas in the Von Duprin property all
 19 appear to be commingled in the same plume.
 20 Q.    You testified, in response to a question asked by
 21 Mr. Bowman, that the contamination is divisible and that that
 22 was one of the opinions that you expressed in this case; is
 23 that correct?
 24 A.    That's right.
 25 Q.    Have you expressed an opinion in this case whether the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 103 of 162 PageID #:
                                   10168
                               LOVE - CROSS/GRIGGS                Vol. 5-918

  1 harm is divisible?
  2 A.    I mean, I guess it depends on how you define harm, because
  3 in my report, I would say I'm equating the contribution with
  4 harm.
  5 Q.    So division of contamination is what we call allocation in
  6 your field of study; right?
  7 A.    There's lots of different, apportionment, allocation,
  8 yeah.     There's lots of different ways.
  9 Q.    Do those words mean the same thing to you or different
 10 things to you?      You just said them like they were synonymous.
 11 A.    You know, I've found that people use them interchangeably,
 12 and I know that some people think that there's a distinction,
 13 so I usually ask for clarification.
 14 Q.    In your usage --
 15 A.    Yes.
 16 Q.    -- is apportionment different from allocation?
 17 A.    I tend to use them interchangeably, but I've also been
 18 asked not to, so --
 19 Q.    And the third in this three-headed monster that we have, I
 20 think, is the word divisibility.         Does divisibility go with
 21 allocation or apportionment or both?
 22 A.    It can go with both.
 23 Q.    Okay.   You have expressed an opinion, as reflected in your
 24 expert report, on what you believe the evidence shows the
 25 overall responsibility for the plume is among each of the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 104 of 162 PageID #:
                                   10169
                               LOVE - CROSS/GRIGGS                Vol. 5-919

  1 parties in this case?
  2 A.    Among each of the source areas, yes.
  3 Q.    Thank you.    I appreciate that clarification.        Among each
  4 of the source areas.
  5              You have not expressed an opinion that would give a
  6 different number than what is shown in table 2 to any one of
  7 these source areas?
  8              Let me ask that question in a better way, maybe.
  9              You were asked on direct examination whether or not
 10 there might have been some decisions made in the process that
 11 might have helped one of the sites versus one of the other
 12 sites.     What I'm asking is:     The opinion that you ultimately
 13 rendered in this case is reflected in table 2?
 14 A.    That's right, and that opinion reflects a minimum number
 15 for the Von Duprin site and likely a maximum number for the
 16 Moran site.
 17 Q.    And one final point.      You testified that soil removal was
 18 not as big an impact in this case as maybe in some other cases
 19 because solvent went directly to groundwater; did I hear that
 20 correctly?
 21 A.    Well, solvent went through the soil into the groundwater.
 22 What's in the soil is the residual amount of contamination
 23 from the solvent that traveled through it, and there is
 24 separate phase solvent in the groundwater from the surface
 25 release.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 105 of 162 PageID #:
                                   10170
                               LOVE - CROSS/GRIGGS                Vol. 5-920

  1 Q.    Okay.   Separate phase.     Maybe that's the adjective I need.
  2               What you're describing is that, upon reaching the
  3 groundwater zone, there was still pure phase solvent present?
  4 A.    Based on the concentrations that are observed in
  5 groundwater, it appears that there is, yes.
  6 Q.    And in the context of chlorinated solvents, is there a
  7 name that we give to that pure phase solvent when it interacts
  8 with groundwater?
  9 A.    Oftentimes we call it a dense nonaqueous phase liquid or a
 10 DNAPL.
 11               THE REPORTER:    I'm sorry.    Can you repeat that?
 12               THE COURT:   And spell that, also?
 13               THE WITNESS:    Yeah.
 14               A dense nonaqueous phase liquid, and the acronym is
 15 DNAPL, D-N-A-P-L.
 16 BY MR. GRIGGS:
 17 Q.    And did you, in fact, see in the data that you reviewed in
 18 this case evidence of the presence of DNAPL on one more of the
 19 sites?
 20 A.    Yes.
 21 Q.    Which site?
 22 A.    So the Von Duprin site appears to have had DNAPL released.
 23 The concentrations at the lowest part of the groundwater
 24 appear higher than that at the shallower locations, same
 25 locations.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 106 of 162 PageID #:
                                   10171
                                LOVE - CROSS/GRIGGS               Vol. 5-921

  1 Q.    Any other sites that you saw evidence that there was
  2 DNAPL?
  3 A.    I'd have to go back and look specifically at the data.
  4 Off the top of my head, I wouldn't want to guess.
  5 Q.    Okay.   And do you remember the nature of the evidence that
  6 you saw, wherever it was, that indicated you -- was it merely
  7 the fact that the concentrations in the deep part of the
  8 groundwater were higher than in the shallower part?             Is that
  9 what you were saying?
 10 A.    That's one of the primary lines of evidence, yes.
 11 Q.    Okay.   Were there any --
 12 A.    As well as --
 13 Q.    Go ahead.
 14 A.    -- the overall absolute concentrations.
 15 Q.    Were there any other lines of evidence that you would have
 16 looked to in making the determination about the presence or
 17 absence of DNAPL in this plume area?
 18 A.    I mean, certainly the high levels of contamination that
 19 are observed in soil also support that what was released was
 20 a, you know, concentrated solvent.          It wasn't, you know,
 21 dissolved, a solvent dissolved in water or something like
 22 that, and so that certainly also provides another line of
 23 evidence to a DNAPL release.
 24               MR. GRIGGS:    That's all I have.     Thank you.
 25               THE COURT:    Ms. Krahulik, you may cross-examine the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 107 of 162 PageID #:
                                   10172
                            LOVE - CROSS/KRAHULIK                 Vol. 5-922

  1 witness.
  2                             CROSS-EXAMINATION

  3 BY MS. KRAHULIK:
  4 Q.    Hello, again.
  5 A.    Hi.
  6 Q.    I just have a couple of follow-up questions for you.
  7              Your analysis did not take into consideration the
  8 relative concentrations leaving the property boundary of any
  9 particular one of these properties at any particular point in
 10 time, did it?
 11 A.    Not in the groundwater.      The only place where that sort of
 12 consideration was taken was at the upgradient, the
 13 downgradient boundary between the groundwater coming towards
 14 the Von Duprin property and once you got onto the Von Duprin
 15 property.
 16 Q.    And all of those locations were actually on the Von Duprin
 17 property?
 18 A.    They were, yes.
 19 Q.    And I think Mr. Griggs cleared this up, but you mentioned
 20 contributions by specific parties earlier.           And you do mean
 21 properties?
 22 A.    I do mean properties, yes.
 23 Q.    Do you know what depth the degreaser at the Moran property
 24 was recessed to into the ground?
 25 A.    I don't know the depth, off the top of my head.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 108 of 162 PageID #:
                                   10173
                             LOVE - REDIRECT/BOWMAN               Vol. 5-923

  1 Q.    You don't know if it was more than 10 feet?
  2 A.    I don't know.
  3              MS. KRAHULIK:     Okay.   Thank you.
  4              THE COURT:    Any redirect?
  5              MR. BOWMAN:    Yeah.
  6                           REDIRECT EXAMINATION

  7 BY MR. BOWMAN:
  8 Q.    I covered it before, but we need it clear.          With this
  9 constituent of concern, chlorinated solvent; right?
 10 A.    Yes.
 11 Q.    And we have PCE and TCE; correct?
 12 A.    Yes.
 13 Q.    Is it the case, based on your knowledge and experience and
 14 your testifying before, an allocation of contribution to a
 15 commingled plume of PCE and TCE was the same as saying that's
 16 a contribution to the harm?
 17 A.    Yes, and I've used it at numerous other solvent sites.
 18              MR. BOWMAN:    Okay.    Thank you.
 19              THE COURT:    Any questions on those couple,
 20 Mr. Griggs?
 21              MR. GRIGGS:    (Shakes head from side to side.)
 22              THE COURT:    Ms. Krahulik?
 23              MS. KRAHULIK:     No, Your Honor.
 24              THE COURT:    All right.    Then Dr. Love is excused.
 25              All right.    Thank you, Dr. Love.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 109 of 162 PageID #:
                                   10174
                             LOVE - REDIRECT/BOWMAN               Vol. 5-924

  1              THE WITNESS:     Thank you.
  2              (Witness excused.)
  3              THE COURT:    Do you have another witness?
  4              MR. BOWMAN:    We do not.
  5              THE COURT:    Okay.   So you --
  6              MR. BOWMAN:    But we have depositions to cover.
  7              THE COURT:    All right.
  8              MR. BOWMAN:    And I don't know whether you want to do
  9 the lunch break.      You can tell, I've passed this off to a much
 10 smarter person.
 11              THE COURT:    All right.    Well, let's let your
 12 co-counsel, Mr. Menkveld, present.
 13              MR. MENKVELD:     Your Honor, before we got started
 14 calling witnesses in this case, we talked about, rather than
 15 putting a lawyer in the box to read through deposition
 16 transcripts, that we would simply admit the original
 17 deposition transcripts as exhibits in this case.
 18              THE COURT:    That would be perfect.
 19              MR. MENKVELD:     And then we also -- those originals
 20 are in sealed envelopes, and then we also have deposition
 21 transcripts, copies of those with the portions highlighted,
 22 which is my understanding of the way the Court wants it.
 23              THE COURT:    Perfect.
 24              MR. MENKVELD:     Okay.   So let's get those.
 25              So the number we would use here, Your Honor, would
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 110 of 162 PageID #:
                                   10175
                                                                  Vol. 5-925

  1 be Exhibits 623 and 624.
  2              If I may approach, Your Honor?
  3              THE COURT:    You may.
  4              623 and 624.
  5              MR. MENKVELD:     Yes, Your Honor.
  6              And 623 will be the original deposition transcript
  7 of Richard W. Phelps.       Phelps is spelled P-H-E-L-P-S.
  8              And 624 will be the original deposition transcript
  9 of John D. Letsinger.       Letsinger is spelled L-E-T-S-I-N-G-E-R.
 10              THE COURT:    All right.    Exhibits 623 and 624 are
 11 admitted into evidence without objection, Mr. Griggs?
 12              MR. GRIGGS:    We have no objection to those original
 13 transcripts being admitted.        I understand that there is a
 14 separate copy that's been highlighted.          I wonder if we will be
 15 getting a copy of that as well?
 16              THE COURT:    If you would.     Do you have an extra
 17 copy?
 18              MR. MENKVELD:     We can get you a copy.
 19              THE COURT:    Okay.   All right.
 20              MR. MENKVELD:     And I will also mention, Your Honor,
 21 before we started trial, Moran filed the excerpts that it
 22 intends to use, which are highlighted, and counsel do have
 23 copies of those.
 24              THE COURT:    All right.    Very good.
 25              Any objection?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 111 of 162 PageID #:
                                   10176
                                                                  Vol. 5-926

  1              MR. GARDNER:     No objection, Your Honor.
  2              I would only add, though, that we also intended to
  3 offer excerpts from the Phelps deposition, and we had filed a
  4 motion highlighting those earlier with the Court.
  5              And we also have some cross or some excerpts from
  6 the Letsinger deposition that we would intend to offer as
  7 cross to the excerpts that Moran is offering.
  8              THE COURT:    You may do that as soon as we get his
  9 in.
 10              MR. GARDNER:     Okay.
 11              THE COURT:    Okay.
 12              MR. MENKVELD:     And the only thing to add, Your
 13 Honor, is:     There is an exhibit to the Phelps deposition that
 14 references the properties that were discussed in the Phelps
 15 deposition.      I want to make sure that exhibit -- because it's
 16 a sealed, you can never be sure whether those exhibits make it
 17 in, so we would submit that exhibit, along with this, as well.
 18              And we will have to get that to the Court.          I
 19 thought it was in my briefcase.         It's not.    So we will have to
 20 get that to the Court.
 21              THE COURT:    All right.    Okay.    623 and 624 are in
 22 evidence.
 23              Those are the sealed versions of the entire
 24 transcripts; correct?
 25              MR. MENKVELD:     That's correct, Your Honor.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 112 of 162 PageID #:
                                   10177
                                                                  Vol. 5-927

  1                                (Defendant's Exhibits 623, 624 were

  2                                received in evidence.)

  3              THE COURT:    And then you've got some designated
  4 portions?
  5              MR. MENKVELD:     Yes, Your Honor.
  6              THE COURT:    Okay.   We'll let Tanesa hold onto those
  7 for right now so that I don't write on anything.
  8              Anything further?
  9              MR. MENKVELD:     There's nothing further on those,
 10 Your Honor.      Thank you.
 11              THE COURT:    All right.    And Mr. Gardener?
 12              MR. GARDNER:     Yes, Your Honor.     We have -- what we
 13 did with the Phelps deposition was we identified the
 14 particular excerpts that we thought were relevant from that,
 15 rather than reading it to the Court.          We've done the same with
 16 the excerpts from the Letsinger deposition.           So I have a
 17 document that outlines those.         We could also highlight them,
 18 if that's easier for the Court.         I can leave that to your
 19 discretion.      But what I've got here are notice or -- excuse
 20 me -- references to the deposition with the particular page
 21 and line numbers that we think are relevant.
 22              THE COURT:    Oh.   I would prefer a highlighted
 23 version.
 24              MR. GARDNER:     We can do that for Your Honor.
 25              THE COURT:    That would be very easy for me to read.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 113 of 162 PageID #:
                                   10178
                                                                  Vol. 5-928

  1 Okay.
  2              So you'll get that to me?
  3              MR. GARDNER:     We will, Your Honor.
  4              THE COURT:    All right.
  5              No objection?
  6              MR. MENKVELD:     None from Moran, Your Honor.
  7              MR. GRIGGS:    No objection.
  8              THE COURT:    All right.    Okay.    So is Moran going to
  9 rest?
 10              MR. MENKVELD:     Moran rests, Your Honor.
 11              THE COURT:    Thank you.
 12              Will you be presenting evidence, live evidence?
 13              MS. KRAHULIK:     We will, Your Honor.
 14              Our first witness is not arriving for a few more
 15 minutes, so -- but he will be ready this afternoon.             We only
 16 have one witness this afternoon who will be here.            Our other
 17 witnesses can't be here until tomorrow.           One is coming from
 18 California.      So we will have one live witness today, two
 19 tomorrow, and that is all the additional testimony we
 20 anticipate in the case.
 21              THE COURT:    Wonderful.
 22              So we should finish tomorrow?
 23              MS. KRAHULIK:     That was my question, if we should be
 24 prepared to present closing tomorrow.          I think we were
 25 finishing early tomorrow, 3:00?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 114 of 162 PageID #:
                                   10179
                                                                  Vol. 5-929

  1              THE COURT:    3:00.   We would love to finish tomorrow;
  2 okay.
  3              MS. KRAHULIK:     We would, too.
  4              THE COURT:    So be prepared for your closing
  5 tomorrow.
  6              Do you believe you'll have any rebuttal?
  7              MR. GRIGGS:    At this time, I don't believe so, Your
  8 Honor.
  9              THE COURT:    Okay.
 10              MR. GRIGGS:    We'll keep our fingers crossed.
 11              THE COURT:    Okay.   Very good, lawyers.      You're being
 12 very efficient.
 13              So we'll go ahead and take our lunch break.          It's
 14 11:35.     We're going to start back at 1:00 to give me time to
 15 read over this transcript for this 52(c) motion that's
 16 pending.
 17              MR. BOWMAN:    Wonderful.
 18              THE COURT:    So that's an hour and a half.        All
 19 right.     So we'll resume at 1:00 p.m.       Have a good lunch break.
 20              THE COURTROOM DEPUTY:      All rise.
 21              (Recess at 11:35, until 1:02.)
 22              THE COURT:    We are back on the record.
 23              And, lawyers, the Court has taken under advisement
 24 the Rule 52(c) motion.        As you know, Rule 52(c) says the Court
 25 may decline to render any judgment until the close of
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 115 of 162 PageID #:
                                   10180
                                                                  Vol. 5-930

  1 evidence.     A judgment on partial findings must be supported by
  2 findings of fact and conclusions of law as required by Rule
  3 52(a).     We scrambled, we did research, but we're not ready to
  4 issue a ruling.
  5              Rule 52(c) also provides that, in addition, a Court
  6 may enter judgment on partial findings sua sponte at any time
  7 during a bench trial so long as the party against whom
  8 judgment is to be rendered has been fully heard with respect
  9 to an issue essential to the parties' case.           So I believe both
 10 parties -- all parties have been fully heard on the issue.              So
 11 if I can have a ruling for you in the morning, I'll give it to
 12 you in the morning.       Otherwise, we're going to continue with
 13 the trial.
 14              And I see you have a witness here.
 15              MS. KRAHULIK:     We do, Your Honor.
 16              Major Tool and Machine and Major Holdings call Nivas
 17 Vijay.
 18              THE COURT:    Okay.   Mr. Vijay, would you please stand
 19 and raise your right hand so that I can get you sworn.
 20              (The witness is sworn.)
 21              THE COURT:    You may have a seat.
 22              And, Counsel, you may examine your witness.
 23              MS. KRAHULIK:     Thank you.
 24
 25
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 116 of 162 PageID #:
                                   10181
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-931

  1          NIVAS VIJAY ARAGHAVAN, DEFENDANT'S WITNESS, SWORN

  2                            DIRECT EXAMINATION

  3 BY MS. KRAHULIK:
  4 Q.    Would you please state your name and spell it for our
  5 court reporter, please.
  6 A.    It's Nivas Vijay Araghavan.       N-I-V-A-S, V-I-J-A-Y,
  7 A-R-A-G-H-A-V-A-N.
  8 Q.    And people commonly refer to you at -- your last name as
  9 "Vijay"?
 10 A.    Correct.
 11 Q.    And you're fine with me doing that today, Mr. Vijay?
 12 A.    Yes.
 13 Q.    And one thing.     You have to let me finish before you
 14 answer just so we can get a good record.
 15              What is your occupation?
 16 A.    I'm the principal of Heartland Environmental Associates.
 17 Q.    What is your title at Heartland?        It's just principal?
 18 A.    Senior project manager and principal.
 19 Q.    And what education do you have?
 20 A.    I have a degree in geology from Purdue and have been in
 21 the environmental consulting business since 2003.
 22 Q.    Do you have any certifications?
 23 A.    I'm a certified hazardous materials manager, and I also
 24 have multiple certifications with underground storage tanks,
 25 asbestos inspections, and other common environmental
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 117 of 162 PageID #:
                                   10182
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-932

  1 related -- HAZWOPER, and also OSHA training, as well.
  2 Q.    All those things you use in your job?
  3 A.    Yes.
  4              MS. KRAHULIK:     Will you please pull up Exhibit 1001,
  5 Ms. Woods?
  6 BY MS. KRAHULIK:
  7 Q.    And do you recognize this general geographic area?
  8 A.    Yes, I do.
  9 Q.    And you've had some involvement, at least, with many of
 10 the properties depicted on Exhibit 1001; right?
 11 A.    Correct.
 12 Q.    Let's take them one at a time.        I think that's the easiest
 13 way to go about this.
 14              Let's talk, first, about the property that's labeled
 15 Ertel property on this map.        Tell the Court, generally, about
 16 your involvement at the Ertel property.
 17 A.    Starting in 2006, while I was with QEPI, I worked with the
 18 City of Indianapolis to do emergency threat to health removal
 19 activities -- that was funded by the U.S. EPA -- where we
 20 removed hazardous materials from the site.           Then, afterwards,
 21 I worked to do environmental assessment and remediation work
 22 on the property.
 23              THE COURT:    Mr. Vijay, what's QEPI?
 24              THE WITNESS:     Quality Environmental Professionals,
 25 Incorporated.      They were the consulting firm I was employed
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 118 of 162 PageID #:
                                   10183
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-933

  1 with prior to employment with Heartland.
  2              THE COURT:    All right.    Thank you.
  3 BY MS. KRAHULIK:
  4 Q.    And what sort of activities did QEPI undertake on the
  5 Ertel property?
  6 A.    We undertook environmental assessment work, including the
  7 advancement of numerous soil borings throughout the property,
  8 and then assessed and provided oversight for the remediation
  9 of the property and also oversaw the demolition of the former
 10 site building.
 11 Q.    And what was involved in the remediation of that property?
 12 A.    After the assessment was completed, we removed and hauled
 13 off site approximately 37,000 tons of contaminated soil from
 14 the footprint of the property.
 15              MS. KRAHULIK:     Would you please pull up
 16 Exhibit 1092?
 17              And, Your Honor, if it is okay with the Court, on
 18 these environmental reports because I'm going to be showing
 19 Mr. Vijay several of them, with the Court's permission, I
 20 would like to be able to give him copies and the Court copies
 21 of those reports, even though they're already in the record,
 22 just for ease of reference.
 23              THE COURT:    That's fine.     Thank you.
 24              Mr. Vijay, while she's doing that, what do you guys
 25 do with 37,000 tons of contaminant?          When you get rid of it,
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 119 of 162 PageID #:
                                   10184
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-934

  1 where do you put it?
  2              THE WITNESS:     After profiling, the contaminated soil
  3 was disposed of at a landfill, at Southside Landfill.
  4              THE COURT:    Here in Indianapolis?
  5              THE WITNESS:     Correct.
  6              THE COURT:    So there's a contaminated landfill now;
  7 right?
  8              THE WITNESS:     Landfills typically take a lot of
  9 contaminated material, but typically it's lined so it prevents
 10 further migration from -- or the contaminates from migrating
 11 from the landfill.
 12              THE COURT:    All right.    Thank you.
 13 BY MS. KRAHULIK:
 14 Q.    So I've handed you what's been marked as Exhibit 1092,
 15 which is a stipulated exhibit in this case.           Can you tell the
 16 Court what we are looking at here?
 17 A.    This is the soil remediation completion report for the
 18 former Ertel manufacturing facility, dated May 29th, 2008.
 19 Q.    And take a look at page 4 of this document and
 20 specifically at the summary of remediation activities at
 21 Section 2.1.1, which continues, I think, then onto the next
 22 several pages, and tell the Court what this document shows.
 23 A.    This section summarizes the excavation and disposal of the
 24 37,000 tons of impacted soil, along with documenting the
 25 backfilling and the confirmation samples that were collected.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 120 of 162 PageID #:
                                   10185
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-935

  1 Q.    And I believe this report also talks about, as the Judge
  2 was just asking you, the disposal of the soil that was
  3 excavated?
  4 A.    That's correct.
  5 Q.    And were all the VOCs contained in that soil below the
  6 industrial default closure levels for IDEM?
  7 A.    The VOCs in the soil would have been above the industrial
  8 default screening levels.
  9 Q.    And were those then averaged in order to allow disposal?
 10 A.    Correct.
 11 Q.    Take a look at page 16 of this report.         What did you
 12 ultimately conclude on behalf of QEPI here?
 13              THE COURT:    There is no page 16.
 14              MS. KRAHULIK:     I'm sorry.    It's page 16 of the PDF.
 15 It's actually page 13 of the soil closure report.            It's the
 16 second to last page.       I wrote down the PDF numbers to make it
 17 easier for her to pull them up.
 18 A.    We concluded that the soil excavation was completed and
 19 the confirmation sampling based on the averages that we
 20 utilized were below the IDEM risk industrial default closure
 21 levels and that we requested closure for surface and
 22 subsurface soil at the site, and we also proposed additional
 23 groundwater monitoring to document the effectiveness of the
 24 soil remediation at remediating groundwater.
 25 Q.    And at that point, did Major Tool and Machine begin to
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 121 of 162 PageID #:
                                   10186
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-936

  1 undertake some activities at the site?
  2 A.    After the completion of the soil removal, Major Tool and
  3 Machine began redevelopment of the site.
  4 Q.    And do you understand that Major Tool and Machine was
  5 acting under a lease for the property at that time?
  6 A.    That's my understanding.
  7 Q.    And have you seen or reviewed a document whereby Major
  8 Tool and Machine performed a Phase I investigation of the
  9 property before that lease was effective?
 10 A.    Yes, I have.
 11 Q.    Do you recall who performed that investigation?
 12 A.    I believe that was conducted by EnviroForensics.
 13 Q.    I'm going to show you Exhibit 1152.         Can you tell the
 14 Court what this document is?
 15 A.    This is a document issued to Major Tool and Machine from
 16 the Indiana Brownfields Program regarding a vapor intrusion
 17 mitigation system monitoring plan.
 18 Q.    And it looks like you were carbon copied on this document?
 19 A.    That's correct.
 20 Q.    And what was the purpose of obtaining the Brownfields
 21 Program's letter here?
 22 A.    The purpose of this letter was to get feedback from the
 23 Brownfields Program related to a vapor intrusion mitigation
 24 system that was proposed and a monitoring plan to address the
 25 effectiveness of the vapor intrusion system that was proposed
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 122 of 162 PageID #:
                                   10187
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-937

  1 to be installed as part of the -- or that was installed as
  2 part of the development of the new Major Tool building.
  3 Q.    On the former Ertel property?
  4 A.    Correct.
  5 Q.    All right.    Let's take a look at 1123.       And, actually, I
  6 will hand you 1123 and 1124 together because I think we'll
  7 talk about both of those at the same time.           I'll give you a
  8 minute to review these documents.
  9              So it looks like both of these are Heartland
 10 Environmental Associates reports submitted to Mr. Ryan Groves
 11 at IDEM and signed off on by you?
 12 A.    That's correct.
 13 Q.    What were the purposes -- or what was the purpose of these
 14 submittals to IDEM?
 15 A.    The purpose of the initial submittal from May 30th was to
 16 provide a status update to IDEM and also request no further
 17 action for the incident at the Ertel facility.            And the
 18 follow-up submittal from October 15th was to provide IDEM with
 19 additional information related to exposure pathways to augment
 20 the initial no-further-action request.
 21 Q.    And in both of these documents, did Heartland also request
 22 closure or no-further-action status for what we've referred to
 23 as the Zimmer Paper parcel or the Moran Electric rewind shop?
 24 A.    It was our understanding that the closure request was for
 25 both those parcels.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 123 of 162 PageID #:
                                   10188
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-938

  1 Q.    If you take a look at the October 15 submittal -- and this
  2 is Exhibit 1124 -- I'm looking at figure 1, which is the
  3 first figure to this document.         Do you see that Zimmer
  4 property, Zimmer Paper parcel, included within the site
  5 footprint?
  6 A.    Yes, I do.
  7 Q.    What was the result of these requests to IDEM?
  8 A.    IDEM issued a no-further-action for the Ertel property.
  9 Q.    I'm going to show you Exhibit 1099.         Mr. Vijay, it appears
 10 that you are copied on this document.          What are we looking at
 11 here?
 12 A.    This is a no-further-action letter issued by IDEM from
 13 November, 2012.
 14 Q.    Please take a look at the second page of this document.
 15 It's page 3 of the PDF.        And, again, this was in November of
 16 2012.
 17              The final full paragraph on this page sets out the
 18 highest remaining concentrations at the Ertel property at the
 19 time of closure.      Can you tell the Court what those were?
 20 A.    The highest concentration of tetrachloroethene was 271
 21 parts per billion, and the highest concentration of
 22 trichloroethylene was 267 parts per billion.
 23 Q.    And tetrachloroethene is commonly known as PCE, right?
 24 A.    Correct.
 25 Q.    And "tri" is known as TCE?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 124 of 162 PageID #:
                                   10189
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-939

  1 A.    Correct.
  2              MS. KRAHULIK:     Can you pull up Document 1138,
  3 please?
  4 BY MS. KRAHULIK:
  5 Q.    What are we looking at here?
  6 A.    This is an e-mail that I sent to Michael Anderson with
  7 IDEM regarding the no-further-action request and providing
  8 some clarifications that were requested related to the
  9 request, the request.
 10 Q.    And what were the clarifications related to, specifically?
 11 A.    Specifically related to vapor intrusion and the existing
 12 vapor intrusion system that was installed in the Major Tool
 13 building that was built over the Ertel facility.
 14 Q.    If you take a look at paragraph 2 of this e-mail, around
 15 the middle of that paragraph, it says, "Minor concentrations
 16 of volatile organic compound chemical constituents were
 17 encountered in indoor air ambient samples" -- I'm sorry --
 18 "indoor ambient air samples collected within the site
 19 building.     It is likely that these concentrations were the
 20 result of manufacturing operations at the site, not the result
 21 of vapor intrusion."
 22              When you say "VOCs," are you talking about
 23 chlorinated solvents?
 24 A.    VOCs, including chlorinated solvents, yes.
 25 Q.    So VOCs as a class would include chlorinated solvents?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 125 of 162 PageID #:
                                   10190
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-940

  1 A.    Correct.
  2 Q.    But, here, the constituents were those being used in
  3 operations and were not chlorinateds?
  4 A.    I believe so, yes.
  5 Q.    And after this, IDEM issued the no-further-action letter
  6 that we saw in Exhibit 1099?
  7 A.    Yes.
  8 Q.    Now, you've spent a lot of time on these properties.            And
  9 kind of in connection with this e-mail, there's been testimony
 10 that Major Tool and Machine has never used chlorinated
 11 solvents on any of these properties in its operations.
 12              Have you ever seen any use of chlorinated solvents
 13 on any of these properties by Major Tool and Machine?
 14 A.    No, I have not.
 15 Q.    And with respect to the NFA, the Zimmer Paper parcel was
 16 not included in that NFA, despite your intention that it would
 17 be?
 18 A.    Correct.
 19 Q.    In your written requests twice; right?
 20 A.    Correct.
 21 Q.    And what conditions did IDEM place on the site as far as
 22 the ERC -- I'm sorry -- the no-further-action status?
 23 A.    The no-further-action status, the conditions that were
 24 placed, were restricting groundwater usage at the site,
 25 restricting residential re-usage, and maintaining the vapor
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 126 of 162 PageID #:
                                   10191
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-941

  1 intrusion system.
  2 Q.    And, to your knowledge, have those continued to be met?
  3 A.    Yes.
  4 Q.    And the vapor intrusion system is still there, but it's
  5 not in active operation today?
  6 A.    I believe it is acting passively still, yes.
  7 Q.    And did IDEM direct Heartland to abandon the groundwater
  8 monitoring wells related to the Ertel site?
  9 A.    Yes.
 10 Q.    I'm going to show you Exhibit 1191.
 11              MS. KRAHULIK:     I have to take my glasses off.       They
 12 make me dizzy when I walk.
 13 BY MS. KRAHULIK:
 14 Q.    What is this document?
 15 A.    This is the Phase I environmental site assessment
 16 Heartland conducted on behalf of Major Tool and Major Holdings
 17 from January, 2013.
 18 Q.    And what did you understand the purpose of this Phase I to
 19 be since Major Tool and Machine had already done one before it
 20 leased the property?
 21 A.    This -- the purpose of this Phase I was to have an updated
 22 Phase I prior to Major Tool's acquisition of the property.
 23 Q.    If you take a look at page 45 of this document -- which,
 24 Ms. Woods, I believe is page 49 of our PDF -- could you just
 25 read that second paragraph that starts with "Heartland has
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 127 of 162 PageID #:
                                   10192
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-942

  1 performed" into the record?
  2 A.    The second paragraph of page 45?
  3 Q.    Yes, page 45 of the document.
  4 A.    "Heartland has performed a Phase I ESA in general
  5 conformance with the scope and limitations of ASTM Practice
  6 E1527-05 and U.S. EPA AAI rule that was finalized
  7 November 1st, 2006, for the property addressed at 2045
  8 Dr. Andrew J. Brown Avenue in Indianapolis, Indiana.             This
  9 assessment has revealed no evidence of RECs in connection with
 10 the property except for the following."
 11 Q.    And you noted what those were?
 12 A.    Yes.
 13 Q.    And what was the purpose in obtaining this Phase I, as far
 14 as Major Tool and Machine went, to your understanding?
 15 A.    To document the due diligence prior to acquisition of the
 16 property.
 17 Q.    And, in fact, after this, did you assist Major Tool and
 18 Machine in a comfort letter request to Indiana Brownfields?
 19 A.    Yes, we did.
 20 Q.    I'm going to show you Exhibit 1185, and I'm also going to
 21 hand up Exhibit 1192 because we'll talk about those together.
 22              Okay.   First, tell us:     Is 1185 the comfort letter
 23 request we just discussed?
 24 A.    Yes, it is.
 25 Q.    And you are listed as the environmental consultant on this
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 128 of 162 PageID #:
                                   10193
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-943

  1 document, on the second page, the back of the paper copy?
  2 A.    Yes.
  3 Q.    And then what is Exhibit 1192?
  4 A.    This is the comfort letter issued by IDEM for the Major --
  5 for the Ertel property on behalf of Major Tool.
  6 Q.    If you look at the document on the paper copy that's
  7 page 8 of 10, at the bottom of that page, IDEM set out certain
  8 reasonable steps that Major Tool had to comply with in order
  9 to remain a BFPP for the comfort letter; right?
 10 A.    Correct.
 11 Q.    And take a minute to read that.        And it says Major Tool
 12 would implement and maintain all existing land use
 13 restrictions in the REC that was recorded on this site; and,
 14 if they became aware of information, to communicate it to IDEM
 15 about existing hazardous substance contamination or new or an
 16 identified contamination.
 17              To your knowledge, has Major Tool and Machine
 18 complied with those reasonable steps?
 19 A.    Yes.
 20 Q.    And then I want to show you -- this is the last document
 21 related to the Ertel site -- an e-mail, Exhibit 1215.             I'm
 22 showing this to you because somebody is going to.            Take a look
 23 at this e-mail and tell me what we're seeing here.
 24 A.    This is an e-mail sent from me to Chris Harrell, who was
 25 with the City of Indianapolis, from October 13th, 2007.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 129 of 162 PageID #:
                                   10194
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-944

  1 Q.    And why did Chris send you this e-mail?
  2 A.    Chris was sending me this e-mail in response to a request
  3 from IDEM to do some additional deep groundwater sampling at
  4 the Ertel site.
  5 Q.    And specifically, he says here, "I'm a bit worried about
  6 the random sampling events and how that could uncover
  7 additional area to further delineate and excavate" --
  8              COURT REPORTER:     I'm sorry.
  9              MS. KRAHULIK:     I'm sorry.
 10 BY MS. KRAHULIK:
 11 Q.    -- "further delineate and excavate and how that could make
 12 even more budget fund, but don't want to go down that route
 13 until we get the results from the Geo Program."
 14              And then you reply and you use the word random in
 15 quotation marks.      What did you mean by that?
 16 A.    It was a facetious e-mail sent at 1:49 a.m., as is shown
 17 on the time stamp, and IDEM had dictated exactly where those
 18 soil borings needed to go in areas where there was potential
 19 sources of DNAPLs, so the "random" was in quotations, more or
 20 less, as a joke between me and Chris as we were working a lot
 21 of hours together and as you can tell by this time stamp of
 22 the e-mail.
 23 Q.    And you didn't believe they were random at all; they were
 24 in areas where you thought you might uncover additional
 25 impacts?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 130 of 162 PageID #:
                                   10195
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-945

  1 A.    Correct.
  2 Q.    Okay.   Let's move on to the Zimmer Paper/Moran Electric
  3 rewind site.      Are you aware of Major Tool and Machine did a
  4 Phase I investigation of that property before it was
  5 purchased?
  6 A.    I believe they have, yes.
  7 Q.    And you've seen that document?
  8 A.    Yes.
  9 Q.    Do you recall which consultant performed that work?
 10 A.    I believe that was done by EnviroForensics.
 11 Q.    And we've seen it as Exhibit 1241.
 12               How did you become involved, then, at that property?
 13 A.    During the work at the Ertel facility, the electric
 14 rewind -- Moran Electric rewind shop was also brought into the
 15 remediation plans, as the footprint of the redevelopment would
 16 have incorporated that property, as well.
 17 Q.    I'm going to show you what's been marked as Exhibit 1100.
 18 And what is this document?
 19 A.    This is a limited subsurface investigation conducted for
 20 what we were calling the Zimmer Paper parcel from August 3rd,
 21 2007.
 22 Q.    And I guess I should point out, we're now back to QEPI,
 23 because I'm going property by property, so the reports span
 24 both employers, right?
 25               And what did you recommend after undertaking this
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 131 of 162 PageID #:
                                   10196
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-946

  1 limited subsurface investigation?
  2 A.    Based on the results of the investigation, we recommended
  3 the removal of impacted soils throughout a majority of the
  4 former site building, the southern portion of the courtyard
  5 area, and areas in the northern and northwestern portions of
  6 that parcel to remove elevated chemical-impacted soils.
  7 Q.    Okay.   And I'm going to show you Exhibits 1129 and 1131.
  8 We will talk about those together.
  9               What is Exhibit 1129?
 10 A.    This is a soil excavation and remediation scope of work
 11 prepared for the Ertel and Zimmer Paper parcels dated
 12 September 7th, 2007.
 13 Q.    Okay.   Take a look at figure 6 to this document, which,
 14 after the text of the document, is -- I'm trying to see how
 15 many pages here -- six pages in, I believe.           And I believe, on
 16 the PDF, that is page 11.
 17               What are the areas shown here as A, B, and C in this
 18 figure?
 19 A.    Those are areas that we highlighted based on the results
 20 of the limited subsurface investigation where chemical impacts
 21 were encountered that we recommended removal of soils.
 22 Q.    And what is Exhibit 1131?
 23 A.    This is a limited Phase II sampling and analysis report
 24 for the Zimmer Paper parcel from November 30th, 2007.
 25 Q.    Okay.   And what was the purpose of the limited Phase II?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 132 of 162 PageID #:
                                   10197
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-947

  1 A.    The purpose was to vertically delineate impacts to
  2 groundwater and to investigate for the potential presence of
  3 dense nonaqueous phase liquids or DNAPLs.
  4 Q.    And what did QEPI conclude as to the presence of DNAPLs in
  5 that area?
  6              And that's on the third page of the document, if
  7 that helps, the QEPI's conclusion and recommendations.
  8 A.    Based on the sample results, it did not appear that DNAPLs
  9 were present, and we did not -- QEPI did not recommend any
 10 additional investigation for DNAPLs.
 11 Q.    And what did you do next, then, at that Zimmer Paper
 12 property?
 13 A.    I would have to check the timeline, but this would have
 14 been done in close concert with the removal of soils and the
 15 removal of an underground tank at the Zimmer Paper parcel.
 16 Q.    And in fact, I have Exhibit 1094 here.         What are we
 17 looking at here?
 18 A.    This is the underground storage tank closure report for
 19 the Zimmer Paper parcel from December 12th, 2007.
 20 Q.    And tell us, generally, what work QEPI performed with
 21 regard to that underground storage tank removal.
 22 A.    After the demolition of the building, the underground
 23 storage tank was uncovered.        There was approximately a
 24 16,000-gallon tank within the footprint of the former site
 25 building.     We opened the tank, cleaned and purged any contents
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 133 of 162 PageID #:
                                   10198
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-948

  1 that were still remaining inside the tank, and then removed
  2 the tank from the ground.        Afterwards, we removed and
  3 excavated approximately 7,300 tons, or cubic yards, of soil
  4 within the area of the tank pit and then also extending
  5 throughout the former footprint of the site building.
  6 Q.    So you excavated the area where the tank was and then
  7 over-excavated around the tank --
  8 A.    Correct.
  9 Q.    -- area?
 10              And those were the figures we saw in the scope of
 11 work, the excavation areas?
 12 A.    It would have been the southern excavation area in the
 13 scope of work that was provided below -- or provided in the
 14 previous document.
 15 Q.    And you were present for the tank removal and excavation
 16 work?
 17 A.    Yes.
 18 Q.    Were there fill ports for that tank present?
 19 A.    Within the site building, yes.
 20 Q.    And was there any piping associated with the tank?
 21 A.    When the site building was still erected, there was piping
 22 that was extending from the subsurface into the southern
 23 portion of the site building.
 24 Q.    And the fill port for that tank was accessible?
 25 A.    Yes.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 134 of 162 PageID #:
                                   10199
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-949

  1 Q.    And you said you pumped out about how much liquid?           I
  2 think it was like 3200 gallons, but check the report.
  3 A.    Based on the report, approximately 3200 gallons of
  4 residual product and sludge was removed from the tank and
  5 disposed of.
  6 Q.    And were those contents sampled at that time?
  7 A.    No, they were not.
  8 Q.    Take a look at page 6 of the report -- which is page 9 of
  9 the PDF, Ms. Woods -- under tank contents.
 10              QEPI states here that, "Based on historical
 11 information obtained by QEPI pertaining to the subject site,
 12 it is likely the tank contained chlorinated solvent
 13 materials"?
 14              MR. BOWMAN:    Objection, undisclosed expert opinion.
 15 The testimony is that he didn't sample the contents.
 16              THE COURT:    Your response?
 17              MS. KRAHULIK:     I withdraw the question.
 18              THE COURT:    Okay.
 19 BY MS. KRAHULIK:
 20 Q.    What was the condition of the tank upon its removal?
 21 A.    The tank was a steel tank, and there was some evidence of
 22 some pitting, but besides -- due to the age, likely, of the
 23 tank -- but there was no gaping holes or anything like that in
 24 the tank.
 25 Q.    And in the area of that tank, had shallow soil sampling
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 135 of 162 PageID #:
                                   10200
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-950

  1 revealed soil that was contaminated with chlorinated solvents?
  2 A.    Yes.
  3 Q.    And we already talked about the no-further-action requests
  4 that you submitted on behalf of the city to IDEM with respect
  5 to the Ertel site, and those actually contained the footprint
  6 of the Zimmer Paper building; right?
  7 A.    Correct.
  8 Q.    I'm just trying to cover the timeline of this particular
  9 property.
 10              What happened next with regard to this particular
 11 property?
 12 A.    After the completion of the soil remediation, the property
 13 was backfilled, and then included in the redevelopment as part
 14 of the new Major Tool facility.
 15 Q.    And the building footprint sits on that property?
 16 A.    The building footprint is over the entirety of that
 17 property.
 18 Q.    And it was equipped with the vapor mitigation system we
 19 already discussed?
 20 A.    Yes.
 21 Q.    I'm going to hand you Exhibit 1242.         We're skipping ahead
 22 quite a ways.      What's the date on this document?
 23 A.    April 3rd, 2018.
 24 Q.    And this is a letter signed by you; right?
 25 A.    Correct.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 136 of 162 PageID #:
                                   10201
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-951

  1 Q.    What was the purpose of this letter?
  2 A.    This letter was provided to IDEM in response to IDEM's
  3 demand-for-compliance letter from March 19th, 2018.
  4 Q.    And what did Heartland communicate to IDEM in this
  5 response to that demand-for-compliance letter, generally?
  6 A.    In general, the letter was provided to document Major
  7 Tool's efforts with regard to complying to IDEM's previous
  8 notice-of-liability letters and to document prior submittals
  9 to IDEM and future proposed submittals to IDEM.
 10 Q.    And what were Major Tool and Machine's plans at that point
 11 with regard to submittals to IDEM related to this site?
 12 A.    Future plans were to submit an application to IDEM for
 13 enrollment into the Voluntary Remediation Program, also submit
 14 a remediation work plan, and also to provide a vapor intrusion
 15 assessment work plan for off-site properties.
 16 Q.    And did Heartland, in fact, submit that vapor -- I'm
 17 sorry -- that Voluntary Remediation Program application?
 18 A.    Yes, it did.
 19 Q.    And is this a copy, Exhibit 1194, of the VRP application?
 20 A.    Yes, it is.
 21 Q.    What was the result of that submission to IDEM?
 22 A.    The application was denied.
 23 Q.    And before that happened, did IDEM take some other step
 24 toward -- or other action related to Major Tool and Machine?
 25 A.    Prior to denying the VRP application, a commissioner's
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 137 of 162 PageID #:
                                   10202
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-952

  1 order was issued.
  2 Q.    How many sites have you worked on with IDEM throughout
  3 your career?
  4 A.    Hundreds.
  5 Q.    Have you ever seen IDEM issue a commissioner's order to a
  6 party when there is an unremediated downgradient site with
  7 regard to homes on the other side of the unremediated site?
  8 A.    I'm sorry.    Could you repeat that?
  9 Q.    Have you ever seen similar treatment by IDEM of a property
 10 where there is an intervening unremediated site downgradient
 11 and IDEM is requesting vapor work in homes near that
 12 unremediated site?
 13 A.    I'm not aware of IDEM doing that, no.
 14 Q.    Have you ever seen IDEM issue a commissioner's order to
 15 any party that has performed the level of work that Major Tool
 16 and Machine has performed at the properties it now owns?
 17 A.    I'm not aware of IDEM doing that.
 18 Q.    Have you ever seen IDEM issue a commissioner's order to a
 19 party who has agreed to perform all work requested in a demand
 20 for compliance?
 21 A.    No, I have not.
 22 Q.    Now, finally, let's talk about the Moran south properties,
 23 what we've called the motor shop and dynamometer shop.
 24              MS. KRAHULIK:     Will you pull up Exhibit 1001,
 25 Ms. Woods?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 138 of 162 PageID #:
                                   10203
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-953

  1 BY MS. KRAHULIK:
  2 Q.    And which properties on this map represent the motor shop
  3 and dyna shop?
  4 A.    This would be the property south of the Ertel and the
  5 Zimmer Paper property on this figure.
  6               THE COURT:   You can touch the screen and it will do
  7 an arrow point.
  8               THE WITNESS:    Oh, okay.
  9               MS. KRAHULIK:    You kind of have to tap it kind of
 10 hard.
 11               THE WITNESS:    I think there's an arrow there.
 12               MS. KRAHULIK:    Oh.   Is there?    I'm sorry.    Oh, yeah,
 13 I see it.     There's a mark.
 14 A.    So it would be 109-0578.
 15               THE COURT:   Okay.
 16 A.    And 109-0311.
 17 BY MS. KRAHULIK:
 18 Q.    Thank you.
 19               And those are orange on our map, the two
 20 southern-most orange properties?
 21 A.    Correct.
 22 Q.    Okay.   How did you become involved with efforts at those
 23 properties?
 24 A.    Heartland was contracted with Major Tool to begin
 25 environmental assessment work on those properties.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 139 of 162 PageID #:
                                   10204
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-954

  1 Q.    Okay.   I'm going to show you Exhibit 1122.         Is this a
  2 report prepared by Heartland with regard to those properties?
  3 A.    Yes.
  4 Q.    Take a minute to look through it, but tell us generally
  5 about this report.
  6 A.    This report documents Phase II environmental site
  7 assessment activities on the two Moran Electric parcels, how
  8 we refer to them as Moran Electric, and documented the
  9 advancement of 30 soil borings and the sampling of both soil
 10 and groundwater throughout the site.
 11 Q.    And what did Heartland recommend in conclusion of this
 12 report?
 13 A.    We recommended the excavation of impacted soils that
 14 exceeded IDEM industrial default closure levels to not only
 15 remove impacted soils, but to also remove a source of
 16 continual contamination to groundwater.
 17 Q.    I believe Heartland did another report related to this
 18 site before it conducted that work; is that right?
 19 A.    That's correct.
 20 Q.    What is this document?
 21 A.    This is a further site investigation completed by
 22 Heartland, a report dated June 6th, 2011.
 23 Q.    And why was the further site investigation conducted after
 24 the Phase II had already been performed?
 25 A.    Heartland consulted with the project manager from the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 140 of 162 PageID #:
                                   10205
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-955

  1 Indiana Brownfields Program who recommended some additional
  2 investigation to further delineate impacts that were found on
  3 the property and to evaluate for impacts closer to the
  4 right-of-way of Dr. Andrew J. Brown.
  5              MS. KRAHULIK:     Did I not say the exhibit number
  6 there?     1112.   Sorry.
  7 BY MS. KRAHULIK:
  8 Q.    And I'm going to hand you Exhibit 1031.
  9              Now, this appears to be a comment letter from IDEM
 10 directed to Natalie Weir at Major Tool and Machine on which
 11 you're copied; is that right?
 12 A.    Correct.
 13 Q.    And what was this comment letter in response to?
 14 A.    This comment letter was in response to the Phase II
 15 environmental site assessment and the further site
 16 investigation that we conducted and to request from IDEM
 17 whether the proposed excavation was suitable and appropriate
 18 to conduct.
 19 Q.    So this was in regard to the two previous reports we just
 20 saw?
 21 A.    Correct.
 22 Q.    And what did IDEM conclude about the proposed excavation
 23 on the Moran property?
 24 A.    IDEM concluded that the hot spot excavation and soil
 25 removal appeared to be adequate and acceptable.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 141 of 162 PageID #:
                                   10206
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-956

  1 Q.    And then did Heartland perform that work?
  2 A.    Yes, we did.
  3 Q.    I'm going to show you Exhibit 1093.         What is this
  4 document, Mr. Vijay?
  5 A.    This is the soil remediation completion report for the
  6 Moran Electric property, dated January 20th, 2012.
  7 Q.    And specifically, what work was performed in that soil
  8 excavation?
  9 A.    We removed and disposed of 4,641 tons of impacted soil
 10 from the site.
 11 Q.    And what was the plan, or what did Heartland conclude,
 12 after the excavation was complete?          And if it helps, the
 13 conclusions are on page 9 of the report, which is page 13 of
 14 the PDF.
 15 A.    Based on the confirmation sampling that was conducted as
 16 part of the soil excavation, the sidewall confirmation samples
 17 exhibited volatile organic compound impacts below industrial
 18 default closure levels.        There were bottom samples that
 19 exhibited TCE impacts above the industrial default closure
 20 levels, but they were -- they exhibited decreased
 21 concentration from the soil samples collected prior, in prior
 22 investigations.
 23 Q.    Now, did Heartland assist Major Tool and Machine with a
 24 comfort letter request related to the Moran properties?
 25 A.    Yes, we did.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 142 of 162 PageID #:
                                   10207
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-957

  1 Q.    I'm going to show you Exhibit 1102.         And is this the
  2 comfort letter request I just referred to?
  3 A.    Yes, it is.
  4 Q.    And you're listed on the back page of this, page 2 of the
  5 PDF, as the environmental consultant representing the letter
  6 recipient?
  7 A.    Yes.
  8 Q.    And it's signed by Natalie Weir?
  9 A.    Yes.
 10 Q.    Was that NFA -- I'm sorry.       Was that comfort letter ever
 11 issued, to your knowledge?
 12 A.    To my knowledge, I'm not sure if that comfort letter was
 13 issued.
 14 Q.    After the soil excavation activities on the Moran
 15 properties, what did Heartland do with regard to that property
 16 next?
 17 A.    Afterwards, we conducted groundwater monitoring of --
 18 monitoring what permanent monitoring wells that were installed
 19 around the perimeter of the Moran Electric property and also
 20 on monitoring wells that were located slightly upgradient and
 21 downgradient of the Moran Electric property.
 22 Q.    In what years did Heartland perform that monitoring?
 23 A.    We did monitoring on a quarterly basis in 2012 and did
 24 annual sampling events in 2013, 2014, and 2015.
 25 Q.    And I won't put these in front of you, but just for the
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 143 of 162 PageID #:
                                   10208
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-958

  1 Court's purposes, I will say that the monitoring reports are
  2 in evidence as stipulated Exhibits 1125, 1168, and 1126.
  3              And what was the general observation based on
  4 that -- those monitoring events?
  5 A.    The general observation was groundwater concentrations
  6 were exhibiting either a stable or decreasing trend in
  7 concentration over the course of those years.
  8 Q.    And you documented that for IDEM?
  9 A.    Yes.
 10 Q.    After 2015, then, what has been your role, or Heartland's
 11 role, with the Moran properties?
 12 A.    After 2015, it's just been assisting Major Tool in
 13 reviewing reports and going through the legal process.
 14 Q.    And that property was also the subject of the demand for
 15 compliance, the VRP application, the commissioner's order?              I
 16 won't go back through all those, but the same -- that property
 17 was also included in those?
 18 A.    Yes, it was.
 19 Q.    So Major Tool and Machine tried to submit that property to
 20 the voluntary remediation program, and IDEM said no?
 21 A.    Correct.
 22 Q.    Have you been asked to prepare a plan detailing steps to
 23 be taken for closing out the Moran property and the Zimmer
 24 Paper parcel?
 25 A.    We did prepare a remediation work plan, pending acceptance
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 144 of 162 PageID #:
                                   10209
                           VIJAY - DIRECT/KRAHULIK                Vol. 5-959

  1 into the voluntary remediation program with IDEM.            So a
  2 remediation work plan has been developed.           It just has not
  3 been submitted at this time.
  4 Q.    And what does that plan recommend as to closure for Zimmer
  5 Paper and Moran property?
  6 A.    The plan currently recommends or documents exposure
  7 pathways, it documents the large quantities of soil and source
  8 material that have been removed from the property, and
  9 recommends that no additional active remediation be conducted,
 10 and that additional groundwater monitoring take place just to
 11 further document the stable and decreasing trend of
 12 concentrations in groundwater at the site.
 13 Q.    And is that based, at least in part, on the levels of the
 14 contaminants of concern in the most recent sampling events at
 15 the border of the site?
 16 A.    It is, yes.
 17 Q.    And as you sit there today, can you tell the Court what
 18 those levels generally are?
 19 A.    They're in the neighborhood of, I believe, about a
 20 thousand parts per billion.        I would have to look at those
 21 reports again, but I do not believe they exceed 1500 parts per
 22 billion.
 23 Q.    You talked a little bit about the soil removal activities
 24 and the magnitude of those.        What effect have those had on the
 25 trend you've seen in groundwater monitoring?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 145 of 162 PageID #:
                                   10210
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-960

  1 A.    Since the removal of the contaminated soil, the
  2 groundwater concentrations have either been stable or
  3 decreasing in concentration.
  4              MS. KRAHULIK:     I don't have anything further.       Thank
  5 you.
  6              THE COURT:    Okay.   Do you want to go next,
  7 Mr. Griggs?
  8              MS. KRAHULIK:     I'll need a minute because I've got
  9 all of this stuff.
 10                             CROSS-EXAMINATION

 11 BY MR. GRIGGS:
 12 Q.    Good afternoon.
 13 A.    Good afternoon.
 14 Q.    Let's start where you just left off.
 15              A thousand to 1500 parts per billion of which
 16 contaminant at the property boundary?
 17 A.    I would have to look at the report again, but I believe
 18 it's PCE or TCE.      I would have to look at those reports one
 19 more time to confirm.
 20 Q.    Seen a lot of PCE on those upgradient properties?
 21 A.    I would have to look at the report, again, to confirm
 22 which chemical of concern.
 23 Q.    Which report is that?      Sorry.
 24 A.    The most recent groundwater report from Heartland from
 25 2015.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 146 of 162 PageID #:
                                   10211
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-961

  1 Q.    And your -- I think your testimony was that you were
  2 seeing decreasing trends in the groundwater; is that correct?
  3 A.    Stable or decreasing trends.
  4 Q.    Okay.   Is that because the chlorinated molecules are
  5 dechlorinating into ethene?
  6 A.    There's not been sampling for ethene.
  7 Q.    Where are the lost concentration -- where is it going?
  8 A.    It appears to be attenuating due to the removal of source
  9 contamination, the contaminated soil, which was presenting a
 10 continual source of impacts to groundwater.
 11 Q.    Okay.   What do you mean by "attenuating"?
 12 A.    Chlorinated solvents could potentially naturally attenuate
 13 if you remove a source of contamination.           We, Heartland, has
 14 not done additional sampling at this time to document for
 15 further breakdown of those to determine what those attenuating
 16 factors are.
 17               THE COURT:   Mr. Vijay, what do you mean by
 18 "attenuating," just absorbing into the air or disappearing or
 19 --
 20               THE WITNESS:    Basically, I guess for -- it would
 21 mean that it's naturally degrading into breakdown products
 22 that are less toxic than its natural product.
 23               THE COURT:   Okay.
 24 BY MR. GRIGGS:
 25 Q.    And your testimony is:       You do not -- have not taken any
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 147 of 162 PageID #:
                                   10212
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-962

  1 samples or done any testing to determine if that's the case?
  2 A.    At this time, no, we have not.
  3 Q.    Is the groundwater still flowing to the south-southwest
  4 underneath the plume area?
  5 A.    As far as we know, the historic groundwater flow direction
  6 has been to the south-southwest.
  7 Q.    Is it still carrying molecules along with the groundwater
  8 flow?
  9 A.    Potentially.
 10 Q.    Is it possible that the concentrations that you're seeing
 11 going down in the upgradient is because the contaminants are
 12 being moved to the downgradient area?
 13              MR. BOWMAN:    Objection.    This is not a disclosed
 14 expert witness.      He's a fact witness.      He's asking for
 15 undisclosed expert testimony.
 16              MR. GRIGGS:    I think it merely is calling for his
 17 observation of what he's seen in the data.           He's talked about
 18 the possibility of attenuation, although there's no data to
 19 support that.      I'm merely wanting to know if it's possible
 20 that -- and I think the question was, "Is it possible" -- that
 21 it's being carried away with the groundwater?
 22              MR. BOWMAN:    Can I respond?
 23              THE COURT:    You may.
 24              MR. BOWMAN:    What we have done in this matter before
 25 is that environmental consultants who are just fact witnesses
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 148 of 162 PageID #:
                                   10213
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-963

  1 testify:     The data, the protocol, how it was collected, what
  2 the data results are.       Without expert analysis of that what
  3 they then believe that data means is an expert opinion.             And
  4 those kinds of experts have been brought forward.            When
  5 we're with fact witnesses, we've stayed just with what the
  6 data and the protocols are.        He's now asking him what he
  7 thinks.
  8              THE COURT:    All right.    I'll sustain the objection.
  9              Next question.
 10 BY MR. GRIGGS:
 11 Q.    When you were with QEPI, you did some work at the Ertel
 12 property; is that correct?
 13 A.    That's correct.
 14 Q.    And as recently as 2013, I believe you did a Phase I
 15 environmental site assessment; is that correct?
 16 A.    That's correct.
 17 Q.    Have you done many Phase I site assessments in your
 18 career?
 19 A.    Yes, I have.
 20 Q.    You're familiar with the process?
 21 A.    Yes, I am.
 22 Q.    Are you also familiar with EPA's all appropriate inquiry
 23 rule?
 24 A.    Yes.
 25              MR. GRIGGS:    Can we pull up Exhibit 1191, please?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 149 of 162 PageID #:
                                   10214
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-964

  1 BY MR. GRIGGS:
  2 Q.    This is an exhibit that you were shown earlier in your
  3 direct testimony.
  4               MR. GRIGGS:   And let's look at page 8, please.
  5 Q.    Can you tell me:      Does this look like your Phase I report
  6 for the Ertel site, Exhibit 1191?
  7 A.    Yes, it does.
  8 Q.    And can you tell me, on this page, what entities are
  9 designated as the user of the Phase I?
 10 A.    That would be Major Tool and Machine and Major Holdings,
 11 LLC.
 12 Q.    Okay.   Thank you.
 13               And did you, in connection with this Phase I,
 14 require that both Major Tool and Major Holdings complete user
 15 questionnaires?
 16 A.    To my recollection, the representatives of Major Tool and
 17 Machine and Major Holdings were the same, so the user
 18 questionnaire would have been for both Major Tool and Machine
 19 and Major Holdings.
 20 Q.    Okay.   And do you recall whether this Phase I report
 21 includes a declaration regarding whether it complied with the
 22 relevant CERCLA regulations?
 23 A.    I believe it does.
 24               MR. GRIGGS:   Let's see small ii.      I think it's a
 25 couple pages ahead of this.        Let's scroll up and see if we've
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 150 of 162 PageID #:
                                   10215
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-965

  1 got that.     Can you move up the document?
  2 BY MR. GRIGGS:
  3 Q.    Do you still have a copy of Exhibit 1191?
  4 A.    I do.
  5 Q.    Can you look at page ii?       Can you find that?
  6               And does that contain a declaration regarding
  7 compliance with relevant CERCLA regulations?
  8 A.    Yes, it does.
  9 Q.    Thank you.
 10               MR. GRIGGS:   Page 48.
 11 BY MR. GRIGGS:
 12 Q.    You include a list of references, and I think 48 may
 13 reflect the -- there it is.        It's actual page 48.
 14               And on this list of references, do you see a
 15 reference to a September 6th, 2006, Phase I?
 16 A.    Conducted by Environmental Forensics Investigations,
 17 Incorporated.
 18 Q.    Okay.
 19 A.    That's September -- I'm sorry.        That's September 8th,
 20 2006.
 21               What date did you --
 22 Q.    I think I said, "September 6th, 2006."         So, September 8th.
 23               So you were aware of that Phase I report when you
 24 prepared the one in 2013?
 25 A.    Yes, I was.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 151 of 162 PageID #:
                                   10216
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-966

  1               MR. GRIGGS:   Can we pull up Exhibit 1166?        I think
  2 that's the report we were looking for.          Next page.
  3 BY MR. GRIGGS:
  4 Q.    Is this the report, September 8, 2006, that was referenced
  5 in your 2013 report?
  6 A.    It appears to be, yes.
  7 Q.    And it's also for the Ertel site; correct?
  8 A.    Correct.
  9 Q.    And when you were asked on direct examination about
 10 whether or not there was a prior -- or a Phase I report prior
 11 to Major Tool acquiring the property, is this the report that
 12 you were referring to?
 13 A.    This report.    I also believe there were two other Phase I
 14 reports that were completed prior to Major Tool acquiring the
 15 property.
 16 Q.    And what do you mean by "acquiring the property"?
 17 A.    When Major Tool took title to the property.
 18 Q.    Okay.   So at the time that you prepared your Phase I, who
 19 was the owner of the property, in your view?
 20 A.    The owner was the City of Indianapolis, Department of
 21 Metropolitan Development.
 22 Q.    And who was occupying the property at that time?
 23 A.    Major Tool was occupying the property at that time.
 24 Q.    Do you know when Major Tool began its 99-year lease of the
 25 Ertel property?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 152 of 162 PageID #:
                                   10217
                        VIJAY ARAGHAVAN - CROSS/GRIGGS            Vol. 5-967

  1 A.    No, I do not.
  2               MR. GRIGGS:   Exhibit 1021, page 4, please.
  3 BY MR. GRIGGS:
  4 Q.    In the middle of this page, it has a section called
  5 "Term."
  6               MR. GRIGGS:   Let that go up on the screen.
  7 BY MR. GRIGGS:
  8 Q.    Do you see the effective dates of the lease beginning
  9 November 16, 2007?
 10 A.    Yes, I do.
 11 Q.    Do you have any reason to believe that that's not
 12 accurate?
 13 A.    No, I do not.
 14               MR. GRIGGS:   Let's look at Exhibit 1166, please.
 15 BY MR. GRIGGS:
 16 Q.    This is going back to the Phase I report that we were just
 17 looking at.      What's the date of that Phase I report?
 18 A.    September 8th, 2006.
 19 Q.    Okay.   Under the EPA's all appropriate inquiry rule, how
 20 long is a Phase I report good for?
 21 A.    As of 2013, 180 days.
 22 Q.    Okay.   Do you know if it was different prior to that?
 23 A.    I would have to review the AAI -- the historic AAI rule.
 24 But as of 2013, I know it was 180 days, a viability date on
 25 the Phase I.
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 153 of 162 PageID #:
                                   10218
                        VIJAY ARAGHAVAN - CROSS/BOWMAN            Vol. 5-968

  1 Q.    And what happens after 180 days as it affects AAI
  2 compliance?
  3 A.    The Phase I would be considered out of date and would need
  4 to be updated.
  5              MR. GRIGGS:    Thank you.    Nothing else.
  6              THE COURT:    Mr. Bowman, you may.
  7                             CROSS-EXAMINATION

  8 BY MR. BOWMAN:
  9 Q.    Mr. Vijay, Glenn Bowman, Stoll, Kennon, Ogden, for Moran.
 10              MR. BOWMAN:    Pull up 1099, please.
 11 BY MR. BOWMAN:
 12 Q.    This is the no-further-action letter issued to the City of
 13 Indianapolis, you testified before, from November 19th, 2012;
 14 correct?
 15 A.    Correct.
 16              MR. BOWMAN:    So if you'll scroll down.       On the next
 17 page.     Stop.   Keep going further down.
 18 BY MR. BOWMAN:
 19 Q.    There was reference to remaining groundwater on the site.
 20 There it is.      It starts at:    Groundwater monitoring began in
 21 2008.
 22              I believe Ms. Krahulik referenced you to 271 parts
 23 per billion and 267 parts per billion.          Do you see that, in
 24 that paragraph, during the April, 2012 groundwater monitoring
 25 event, the highest tetrachloroethene concentration was found
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 154 of 162 PageID #:
                                   10219
                        VIJAY ARAGHAVAN - CROSS/BOWMAN            Vol. 5-969

  1 at Monitoring Well MWE - MWE105, at 271?           Do you see that?
  2               THE REPORTER:    I'm sorry.    I lost you.
  3 BY MR. BOWMAN:
  4 Q.    During the April, 2012 groundwater monitoring event, the
  5 highest tetrachloroethene concentration was found at
  6 Monitoring Well MWE-105, at 271 parts per billion; do you see
  7 that?
  8 A.    Yes.
  9 Q.    And it says:    The highest concentration of trichloroethene
 10 was at Monitoring Well 1 at 267 ppb; correct?
 11 A.    Correct.
 12 Q.    To be clear, those were numbers that -- found in
 13 groundwater, not soil; correct?
 14 A.    That is correct.
 15 Q.    Okay.   And you've testified that groundwater flow across
 16 this site has been south-southwest; correct?
 17 A.    Correct.
 18               MR. BOWMAN:   You can pull up Exhibit 1101, please.
 19 BY MR. BOWMAN:
 20 Q.    So the remediation completion report for former Ertel.
 21 She'll make it smaller so you can see it.
 22               MR. BOWMAN:   Ms. Hill.
 23 BY MR. BOWMAN:
 24 Q.    QEPI from May of 2008.      Is this a report that you
 25 prepared?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 155 of 162 PageID #:
                                   10220
                        VIJAY ARAGHAVAN - CROSS/BOWMAN            Vol. 5-970

  1 A.    Yes.
  2 Q.    Okay.   If you go to page 7 of the report, 10 of the PDF,
  3 top of the page, you talk about the excavation was to 15 feet
  4 below ground surface; correct?
  5 A.    Correct.
  6 Q.    If you then go to the fifth full paragraph, it talks about
  7 sidewall samples -- do you see that here -- sidewall samples
  8 collected.     They were halfway down the excavation; correct?
  9 A.    Correct.
 10 Q.    So as you did sidewall samples here at Ertel, they were
 11 taken about seven to eight feet?
 12 A.    That's correct.
 13 Q.    Okay.   If we look at page 28 of 104 and at the top, very
 14 top, E, SW19, it's the case that, remaining after this
 15 excavation, for example, a sidewall sample of ESW19 still had
 16 28,700 parts per billion of tetrachloroethene; correct?
 17 A.    Correct.
 18 Q.    Regarding the NFA, are you aware that a Marion County
 19 court has held that the responsible parties have not met the
 20 terms of the agreed order that's the basis for that NFA?
 21 A.    I'm not aware of that, no.
 22               MR. BOWMAN:   Exhibit 1094, please.
 23 BY MR. BOWMAN:
 24 Q.    This is the underground storage tank closure report
 25 regarding the former Zimmer Paper parcel; correct?
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 156 of 162 PageID #:
                                   10221
                        VIJAY ARAGHAVAN - CROSS/BOWMAN            Vol. 5-971

  1 A.    Correct.
  2 Q.    And I want to be clear so there's no confusion.           In your
  3 reports, when you talked about and submitted a report to IDEM,
  4 you called it the former Zimmer Paper parcel; correct?
  5 A.    Correct.
  6 Q.    Page 8 of 22, UST Piping.       It says right there that
  7 there's no product piping attached to the UST.            Do you see
  8 that?
  9 A.    Yes.
 10 Q.    There was no UST piping attached to the UST, was there?
 11 A.    Attached to the UST, there was not.
 12 Q.    Do you report -- in this report, do you make any reference
 13 to any product piping other than that there aren't any?
 14 A.    The only reference I make in the report is product piping
 15 attached to the UST.
 16 Q.    Of which there is none?
 17 A.    There was nothing attached to the UST, no.
 18 Q.    Page 10 of 22 of the PDF.       When you pull -- when you
 19 pulled this out, there was also some soil removed; correct;
 20 right?
 21 A.    I wouldn't say some soil.       I'd say quite a bit of soil.
 22 Q.    Okay.   There was soil remediation activities, including
 23 soil sampling results; right?
 24 A.    Yes.
 25 Q.    And that would be provided under separate cover.           Do you
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 157 of 162 PageID #:
                                   10222
                        VIJAY ARAGHAVAN - CROSS/BOWMAN            Vol. 5-972

  1 see that?      Right?
  2 A.    Right.
  3 Q.    Have you ever found that report?
  4 A.    No, I have not.
  5 Q.    During removal of the UST, did the contents leak?
  6 A.    The contents were purged prior to the removal of the UST.
  7 Q.    Was there any leakage of that material during the UST
  8 removal process?
  9 A.    During the UST removal process, no, I'm not aware.
 10 Q.    But the contents were not sampled?
 11 A.    They were not sampled.
 12 Q.    You did assist Major Tool and Machine, Major Holdings in
 13 an application for the Voluntary Mediation Program.             Moran was
 14 a co-applicant on that, was it not?
 15 A.    Yes, it was.
 16 Q.    Regarding the soil removal from the Moran property, the
 17 true Moran property, were those soils taken out to Twin
 18 Bridges Landfill?
 19 A.    I would have to confirm which landfill it went to in the
 20 report.
 21 Q.    Exhibit 1093.     I think it's page 9 of the 27.
 22              Waste disposal documentation, taken to Twin Bridges;
 23 correct?
 24 A.    Correct.
 25 Q.    And you were able to do that because the soils were
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 158 of 162 PageID #:
                                   10223
                      VIJAY ARAGHAVAN- REDIRECT/KRAHULIK          Vol. 5-973

  1 removed as nonhazardous, weren't they?
  2 A.    That's correct.
  3 Q.    And then the final point.       The bottom samples were, as you
  4 took it, Moran, you -- the report states that you took them at
  5 first encountered groundwater; correct?
  6 A.    Where in the report are you referencing?
  7              MR. BOWMAN:    Zoom down.    Make it smaller.      Up.
  8 BY MR. BOWMAN:
  9 Q.    I don't know that I have that cite.
 10              Well, look at this paragraph.        You acknowledged at
 11 the time that soils present at 12 to 14 above would be in
 12 first encountered saturated zone; correct?
 13 A.    Yeah, the elevated impact of soil was present from depths
 14 of 12 to 14 feet above the first encountered groundwater
 15 saturated zone.
 16              MR. BOWMAN:    Okay.    Thank you.
 17              THE COURT:    All right.    You may redirect.
 18                           REDIRECT EXAMINATION

 19 BY MS. KRAHULIK:
 20 Q.    We talked earlier about a comfort letter request that you
 21 assisted Major Tool and Machine and Major Holdings with making
 22 to IDEM with respect to the Ertel property.           And in fact, we
 23 looked at the comfort letter that was issued; right?
 24 A.    Correct.
 25 Q.    That's Exhibit 1192.      Please take a look at page 7 of that
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 159 of 162 PageID #:
                                   10224
                      VIJAY ARAGHAVAN- REDIRECT/KRAHULIK          Vol. 5-974

  1 letter.
  2              And for the record, the letter from IDEM directed to
  3 Major Tool and Machine and Major Holdings and copying you as a
  4 recipient is dated June 5, 2013; right?
  5 A.    Yes, June 5th, 2013.
  6 Q.    And on page 7, in the first full paragraph, it says, "As
  7 discussed below, the owner" -- meaning Major Tool and Machine
  8 and Major Holdings -- "has demonstrated to IDEM's satisfaction
  9 that it is eligible for the BFPP exemption from liability for
 10 hazardous substance and petroleum contamination under state
 11 law pertaining to 2045 Dr. Andrew J. Brown Avenue parcel,
 12 provided it takes the reasonable steps required by statute
 13 recommendations for which are also discussed below."             Do you
 14 see that?
 15 A.    Yes.
 16 Q.    And you testified earlier that, as to the reasonable steps
 17 contained on page 8 and 9 of this document, Major Tool and
 18 Machine has complied, to your knowledge?
 19 A.    Yes.
 20 Q.    So after the dates that were being discussed earlier with
 21 regard to a September 8, 2006, report, Major Tool and Machine
 22 was found by IDEM to be a BFPP for CERCLA liability protection
 23 purposes?
 24 A.    That's correct.
 25              MS. KRAHULIK:     I don't have anything further.       Thank
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 160 of 162 PageID #:
                                   10225
                      VIJAY ARAGHAVAN- REDIRECT/KRAHULIK          Vol. 5-975

  1 you.
  2              THE COURT:    Any questions on those, Mr. Griggs?
  3              MR. GRIGGS:    No.
  4              THE COURT:    Mr. Bowman?
  5              MR. BOWMAN:    No, Your Honor.
  6              THE COURT:    All right.    Mr. Vijay, thank you very
  7 much.     You may be excused.
  8              THE WITNESS:     Thank you.
  9              (Witness excused.)
 10              THE COURT:    Okay.   Major Tool, do you have any other
 11 witnesses or evidence to present today?
 12              MS. KRAHULIK:     We don't.    We will have two witnesses
 13 tomorrow and can start with them first thing in the morning.
 14              THE COURT:    All right.    So you're going -- who are
 15 the two?
 16              MS. KRAHULIK:     We have Gary Hokkanen and Robert
 17 Walker.     They're both expert witnesses disclosed in this
 18 matter.
 19              THE COURT:    Okay.
 20              MS. KRAHULIK:     And that will conclude our witnesses.
 21              THE COURT:    All right.    So we'll finish -- do you
 22 think that will be before lunch break or --
 23              MS. KRAHULIK:     Yes, we should be done, at least from
 24 our perspective, before lunch with those witnesses.
 25              THE COURT:    Okay.   All right.     Well, then we can do
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 161 of 162 PageID #:
                                   10226
                                                                  Vol. 5-976

  1 closing -- lawyers, you should be prepared to do your closing
  2 arguments tomorrow, okay.
  3              How much time do you think you'll need, like 20
  4 minutes, 30 minutes?
  5              MR. MENKVELD:     Ten.
  6              THE COURT:    I like that, because you are going to do
  7 proposed findings of fact and conclusions of law.
  8              MR. GRIGGS:    Correct.
  9              I believe that we can complete our presentation in
 10 no more than 40 minutes.
 11              THE COURT:    Oh, Lordy.
 12              MR. GRIGGS:    We've overestimated all along, Your
 13 Honor.
 14              THE COURT:    You sure have.
 15              MR. MENKVELD:     I can complete mine in 39 minutes.
 16              MS. KRAHULIK:     I'll take 38.
 17              THE COURT:    We'll say no more -- let's say no more
 18 than 40 minutes.
 19              What time would that put us at, Tanesa?         Yeah,
 20 because I do have a 3:00 matter.
 21              At least 30, and we'll see what time we finish
 22 tomorrow.     If we finish early enough, I'll give you 40.
 23              MS. KRAHULIK:     We will do our best.
 24              THE COURT:    But at least 30, okay.
 25              All right.    Anything further tonight?       Okay.   It's
Case 1:16-cv-01942-TWP-DML Document 244 Filed 08/13/19 Page 162 of 162 PageID #:
                                   10227
                                                                  Vol. 5-977

  1 early.     We can all do some work, and I'll see everyone at
  2 8:30 a.m.
  3              THE COURTROOM DEPUTY:        All rise.
  4
  5              (Proceedings adjourned at 2:25 p.m.)
  6
  7                                     ***
  8
  9                      CERTIFICATE OF COURT REPORTER

 10
 11        I, David W. Moxley, hereby certify that the

 12 foregoing is a true and correct transcript from
 13 reported proceedings in the above-entitled matter.
 14
 15
 16 /S/ David W. Moxley                         August 13, August 1, 2019.
      DAVID W. MOXLEY, RMR/CRR/CMRS
 17 Official Court Reporter
      Southern District of Indiana
 18 Indianapolis Division
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